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    1 John T. Jasnoch (CA 281605)
      jjasnoch@scott-scott.com
    2 SCOTT+SCOTT ATTORNEYS AT LAW LLP
      600 W. Broadway, Suite 3300
    3 San Diego, CA 92101
      Tel.: 619-233-4565
    4 Fax: 619-236-0508
    5 Lead Counsel for Plaintiffs and the Proposed Class
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    8                     UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10                             WESTERN DIVISION
   11 IN RE ETHEREUMMAX INVESTOR                 Lead Case No. 2:22-cv-00163-MWF-
      LITIGATION                                 (SKx)
   12
                                                 CONSOLIDATED CLASS
   13 This Document Relates To:                  ACTION COMPLAINT
   14 ALL ACTIONS
   15                                            DEMAND FOR JURY TRIAL
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                         CONSOLIDATED CLASS ACTION COMPLAINT
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    1         Plaintiffs Ryan Huegerich, Jonathan Semerjian, Nabil Nahlah, Till Freeman,
    2 Marko Ciklic, Tunisia Brignol, Milan Puda, Neil Shah, and Christopher DeLuca
    3 (“Plaintiffs”), individually and on behalf of all others similarly situated, bring this
    4 Class Action Complaint (“Complaint”) against Defendant EthereumMax (or, the
    5 “Company”), Steve Gentile, Giovanni Perone, Justin French, Mike Speer, and Justin
    6 Maher (the “Executive Defendants”), Kimberly Kardashian, Floyd Mayweather, Jr.,
    7 Paul Pierce, Russell Davis, and Antonio Brown (the “Promoter Defendants” and,
    8 together with the Executive Defendants, the “Defendants”).              The following
    9 allegations are based upon personal knowledge as to Plaintiffs’ own facts, upon
   10 investigation by Plaintiffs’ counsel, and upon information and belief where facts are
   11 solely in possession of Defendants.
   12                               NATURE OF THE CASE
   13         1.     Plaintiffs bring this action on behalf of all investors who purchased
   14 EthereumMax tokens (“EMAX Tokens”) between May 14, 2021 and June 27, 2021,
   15 (the “Relevant Period”) and were damaged thereby.
   16         2.     This case arises from a scheme among various individuals in the
   17 cryptocurrency sector to misleadingly promote and sell the digital asset associated
   18 with EthereumMax (the EMAX Tokens) to unsuspecting investors. The Company’s
   19 executives, collaborating with several celebrity promotors, (a) made false or
   20 misleading statements to investors about EthereumMax through social media
   21 advertisements and other promotional activities, and (b) disguised their control over
   22 EthereumMax and a significant percent of the EMAX Tokens that were available
   23 for public trading during the Relevant Period (the “Float”).
   24         3.     In furtherance of this scheme, Defendants touted the prospects of the
   25 Company and the ability of investors to make significant returns due to the favorable
   26 “tokenomics” of the EMAX Tokens. In truth, Defendants marketed the EMAX
   27 Tokens to investors so that they could sell their portions of the Float for a profit.
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    1        4.     Defendants’ strategy was a success. The misleading promotions and
    2 celebrity endorsements were able to artificially increase the interest in and price of
    3 the EMAX Tokens during the Relevant Period, causing investors to purchase these
    4 losing investments at inflated prices.         In addition, the Executive Defendants
    5 disguised their control of EthereumMax to avoid scrutiny and facilitate this scheme.
    6 The Executive Defendants then conspired with the Promoter Defendants to sell their
    7 EMAX Tokens to investors for a profit.
    8        5.     Plaintiffs bring this class action on behalf of themselves and an
    9 objectively identifiable class consisting of all investors that purchased
   10 EthereumMax’s EMAX Tokens between May 14, 2021 and June 17, 2021.
   11                                       PARTIES
   12        Plaintiffs
   13        6.     Plaintiff Ryan Huegerich (“Huegerich”) is a resident and citizen of New
   14 York, living in Brooklyn, New York.               After viewing numerous celebrity
   15 endorsements of EMAX, Plaintiff Huegerich purchased EMAX Tokens, paid fees,
   16 and suffered investment losses as a result of Defendants’ conduct.
   17        7.     Plaintiff Jonathan Semerjian (“Semerjian”) is a resident and citizen of
   18 California, living in Valencia, California.        After viewing numerous celebrity
   19 endorsements of EMAX, Plaintiff Semerjian purchased EMAX Tokens, paid fees,
   20 and suffered investment losses as a result of Defendants’ conduct.
   21        8.     Plaintiff Nabil Nahlah (“Nahlah”) is a resident and citizen of Florida,
   22 living in Miami Beach, Florida. After viewing numerous celebrity endorsements of
   23 EMAX, Plaintiff Nahlah purchased EMAX Tokens, paid fees, and suffered
   24 investment losses as a result of Defendants’ conduct.
   25        9.     Plaintiff Till Freeman (“Freeman”) is a resident and citizen of Florida,
   26 living in Hallandale, Florida. After viewing numerous celebrity endorsements of
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    1 EMAX, Plaintiff Freeman purchased EMAX Tokens, paid fees, and suffered
    2 investment losses as a result of Defendants’ conduct.
    3        10.    Plaintiff Marko Ciklic (“Ciklic”) is a resident and citizen of New York,
    4 living in Brooklyn, New York. After viewing numerous celebrity endorsements of
    5 EMAX, Plaintiff Ciklic purchased EMAX Tokens, paid fees, and suffered
    6 investment losses as a result of Defendants’ conduct.
    7        11.    Plaintiff Tunisia Brignol (“Brignol”) is a resident and citizen of Florida,
    8 living in Miami, Florida.      After viewing numerous celebrity endorsements of
    9 EMAX, Plaintiff Brignol purchased EMAX Tokens, paid fees, and suffered
   10 investment losses as a result of Defendants’ conduct.
   11        12.    Plaintiff Milan Puda (“Puda”) is a resident and citizen of Florida, living
   12 in Miami, Florida. After viewing numerous celebrity endorsements of EMAX,
   13 Plaintiff Puda purchased EMAX Tokens, paid fees, and suffered investment losses
   14 as a result of Defendants’ conduct.
   15        13.    Plaintiff Neil Shah (“Shah”) is a resident and citizen of California,
   16 living in San Jose, California. After viewing numerous celebrity endorsements of
   17 EMAX, Plaintiff Shah purchased EMAX Tokens, paid fees, and suffered investment
   18 losses as a result of Defendants’ conduct.
   19        14.    Plaintiff Christopher DeLuca (“DeLuca”) is a resident and citizen of
   20 New Jersey, living in Cranford, New Jersey. After viewing numerous celebrity
   21 endorsements of EMAX, Plaintiff DeLuca purchased EMAX Tokens, paid fees, and
   22 suffered investment losses as a result of Defendants’ conduct.
   23        Defendants
   24        15.    Defendant Justin Maher (“Maher”) is a resident and citizen of
   25 Connecticut, living in Milford, Connecticut. Maher is the co-founder/creator of
   26 EthereumMax and exercised control over EthereumMax and directed and/or
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    1 authorized, directly or indirectly, the sale and/or solicitations of EMAX Tokens to
    2 the public.
    3        16.    Defendant Steve Gentile (“Gentile”) is a resident and citizen of
    4 Connecticut, living in Monroe, Connecticut. Gentile is the co-founder/creator of
    5 EthereumMax and exercised control over EthereumMax and directed and/or
    6 authorized, directly or indirectly, the sale and/or solicitations of EMAX Tokens to
    7 the public.
    8        17.    Defendant Giovanni Perone (“Perone”) is a resident and citizen of
    9 Florida, living in Miami, Florida. Perone is the co-founder/creator of EthereumMax
   10 and exercised control over EthereumMax and directed and/or authorized, directly or
   11 indirectly, the sale and/or solicitations of EMAX Tokens to the public.
   12        18.    Defendant Mike Speer (“Speer”) is a resident and citizen of Texas,
   13 living in Georgetown, Texas. Speer is the co-founder/creator of EthereumMax and
   14 exercised control over EthereumMax and directed and/or authorized, directly or
   15 indirectly, the sale and/or solicitations of EMAX Tokens to the public.
   16        19.    Defendant Justin French (“French”) is a resident and citizen of South
   17 Carolina, living in Myrtle Beach, South Carolina. French served as a consultant,
   18 developer, and spokesman for EthereumMax, and he exercised control over
   19 EthereumMax and directed and/or authorized, directly or indirectly, the sale and/or
   20 solicitations of EMAX Tokens to the public.
   21        20.    Defendant Kimberly Kardashian (“Kardashian”) is a resident and
   22 citizen of California, living in Hidden Hills, California. Kardashian acted as a
   23 promotor for EthereumMax and the EMAX Tokens.
   24        21.    Defendant Floyd Mayweather, Jr. (“Mayweather, Jr.”) is a resident and
   25 citizen of Nevada, living in Las Vegas, Nevada. Mayweather, Jr. acted as a promotor
   26 for EthereumMax and the EMAX Tokens.
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    1         22.   Defendant Paul Pierce (“Pierce”) is a resident and citizen of California,
    2 living in Inglewood, California. Pierce acted as a promotor for EthereumMax and
    3 the EMAX Tokens.
    4         23.   Defendant Russell Davis (“Davis”) is a resident and citizen of
    5 Connecticut, living in Woodmont, Connecticut.          Davis acted as a consultant,
    6 developer, promoter, and spokesman for EthereumMax, and he exercised control
    7 over EthereumMax and directed and/or authorized, directly or indirectly, the sale
    8 and/or solicitations of EMAX Tokens to the public.
    9         24.   Defendant Antonio Brown (“Brown”) is a resident and citizen of
   10 Florida, living in Miami, Florida. Brown acted as a promotor for EthereumMax and
   11 the EMAX Tokens.
   12         25.   Corporate Defendant X is the corporate entity behind EthereumMax
   13 and the EMAX Tokens, who participated in the wrongdoing alleged herein but
   14 whose identity is currently unknown to Plaintiffs.        Plaintiffs will identify the
   15 appropriate Corporate Defendant through discovery of the Executive Defendants.
   16         26.   Defendants John Does 1-7 are persons who participated in the
   17 wrongdoing alleged herein but whose identities are currently unknown to Plaintiffs.
   18 Plaintiffs will identify the John Doe Defendants through discovery of the yet-to-be-
   19 discovered Corporate Defendant and/or the Executive Defendants.1
   20                           JURISDICTION AND VENUE
   21         27.   This Court has subject matter jurisdiction over this action pursuant to
   22 28 U.S.C. §1332 because: (1) there are 100 or more (named or unnamed) class
   23 members; (2) there is an aggregate amount in controversy exceeding $5,000,000,
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             While the identities of John Does 1-7 cannot yet be confirmed, there are clues.
      For example, as a now-deleted telegram post from the EMAX official account
   26 admitted: “Kim Kardashian is a family member of someone on the team.” In
      addition, one of Kardashian’s EthereumMax promotions is made in conjunction with
   27 a nightclub, LIV, and Groot Hospitality, both of which are partially owned by David
      Grutman. Since at least 2017, Grutman has been friends with Scott Disick, who also
   28 happens to be the father of Kardashian’s niece and nephews.
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    1 exclusive of interest or costs; and (3) there is minimal diversity because at least one
    2 Plaintiff and Defendant are citizens of different states. This Court has supplemental
    3 jurisdiction over the state law claims pursuant to 28 U.S.C. §1367.
    4         28.    This Court may exercise jurisdiction over Defendants because they
    5 have continuous and systematic contacts with this District, do substantial business
    6 in this State and within this District, and engage in unlawful practices in this District
    7 as described in this Complaint, so as to subject themselves to personal jurisdiction
    8 in this District, thus rendering the exercise of jurisdiction by this Court proper and
    9 necessary.
   10         29.    Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b)
   11 because certain Defendants live and/or conduct business in this District, therefore, a
   12 substantial part of the events or omissions giving rise to the claims alleged herein
   13 occurred in this District.
   14         30.    For example, Executive Defendant Steve Gentile’s September 13, 2021
   15 post congratulating the winners of EthereumMax’s “exclusive in-person LA
   16 influencer event with CRE8LUCK” is still pinned (Pinned Message # 93) as a top
   17 post on the Ethereum Max official Telegram account. See also Pinned Messages
   18 86-87. Similarly, Gentile’s September 17, 2021 post bragging that the “influencer
   19 event with CRE8LUCK in Los Angeles at the Petersen Automotive Museum was a
   20 success. Lots of exciting EMAX content coming soon” is also still pinned on the
   21 official EthereumMax Telegram account (Pinned Message # 99) for investors to see
   22 in particular. In addition, the EthereumMax Telegram page promotes as part of its
   23 “Business of the Week” and “Vender of the Week” promotions, businesses like
   24 aerial photography business Diablo Drone Services located “in the California bay
   25 area” and cannabis delivery service CVALT located in Alameda, Tulare, Fresno,
   26 and Kern Counties, which have started “accepting payments” in EMAX Tokens.
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    1                             FACTUAL ALLEGATIONS
    2         EthereumMax Background
    3         31.   EthereumMax is a cryptocurrency-related project founded by Justin
    4 Maher, Steve Gentile, Giovani Perone, and at least seven other undisclosed
    5 individuals.2 Maher and others funded the development and creation of the EMAX
    6 Token.
    7         32.   The EMAX Tokens are blockchain-based digital assets known as
    8 “ERC-20 tokens” that are created using the Ethereum blockchain. After an ERC-20
    9 token is created, it can be traded, spent, or otherwise transacted with.
   10         33.   EMAX Tokens were not sold on popular centralized exchanges like
   11 Coinbase or Gemini, which generally require that the tokens be compliant with local
   12 laws and regulations.        Instead, the EMAX Tokens traded exclusively on
   13 decentralized exchanges, like Uniswap, that allow anyone to list and sell their
   14 tokens.
   15         34.   Uniswap and other decentralized exchanges are known as “automated
   16 market makers” which use liquidity pools and smart contracts to allow investors to
   17 exchange one asset for another without a direct counterparty. Users called liquidity
   18 providers add an equal value of two tokens into a smart contract pool to create a
   19 market. When executing a trade on a decentralized exchange, an investor does not
   20 have a counterparty and is instead executing the trade against the liquidity in the
   21 liquidity pool. In order to execute trades on a decentralized exchange, users must
   22 pay “gas fees” in order to process the transaction on the Ethereum blockchain. The
   23 gas fee can be significant, as it takes into account the amount of computing power
   24 needed to process the transaction, as well as the amount of traffic on the network.
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   28         See https://www.youtube.com/watch?v=EkBOlCK3cuU.
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    1         35.   The EMAX Tokens were primarily traded against Ether, the native
    2 currency of the Ethereum blockchain network.3
    3         36.   At inception, Maher was ranked seventh out of the ten original founders
    4 in terms of ownership interest in EthereumMax, with a 5.9% stake in the project.
    5         37.   The developer held the number one rank with 23% ownership interest.
    6         38.   After an initial failed attempt to launch the EMAX Tokens, Maher
    7 tapped into a network of 20 traders of collectibles he knew prior to creating
    8 EthereumMax to assist in the operation and promotion of the EthereumMax project.
    9 These individuals previously served as the moderators for the social media accounts
   10 for the cryptocurrency, Shiba Inu coin. Between them, this group had upward of
   11 400,000 followers across their various social media accounts.
   12         39.   Maher tasked this group to work as the moderators for the various
   13 EthereumMax social media accounts, including those on Twitter, Telegram, Reddit,
   14 and Discord. In particular, the group was meant to “shill” the EMAX Tokens to
   15 their followers, enticing potential investors with claims that the EMAX Tokens were
   16 up “8000%” (after the EMAX Token price had been artificially inflated) and would
   17 continue to rise. Maher himself served as the administrator/moderator of the
   18 EthereumMax Facebook page.
   19         40.   On May 14, 2021, the Executive Defendants launched the EMAX
   20 Tokens with a transaction volume of $16.11 million and a price of $0.00000005875,
   21 according to data from CoinMarketCap.
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   23
   24   3
               EthereumMax has no connection to the second largest cryptocurrency,
        Ethereum. This name association appears to be an effort by the Company and the
   25   Executive Defendants to mislead investors into believing that the EMAX Tokens
        were a part of the Ethereum network (when they are not). It would be akin to
   26   marketing a restaurant as “McDonald’sMax” when it had no affiliation with
        McDonald’s other than the name similarity and the fact that both companies sell
   27   food products. In fact, the founder of Ethereum, Vitalik Buterin, called for
        Kardashian to be “cancelled” for her shilling of EthereumMax tokens. See
   28   https://www.youtube.com/watch?v=oLsb7clrXMQ&t=793s.
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     1         41.   Liquidity pools were created on Uniswap to allow users to purchase
     2 EMAX Tokens with Ether.            Wallets associated with Defendants continually
     3 provided Emax Tokens to the pool as retail investors provided Ether to purchase
     4 EMAX Tokens.
     5         42.   At the time of launch, and throughout the Relevant Period, the EMAX
     6 Tokens were not sold pursuant to a “whitepaper.” Whitepapers in cryptocurrency
     7 are documents released by the founders of the project that gives investors technical
     8 information about its concept, and a roadmap for how it plans to grow and succeed.
     9         43.   Subsequently, however, the Company did release a whitepaper in
    10 October 2021 entitled: “EthereumMax – Disrupt History,” which explained the
    11 business model for EthereumMax and described its activities during the Relevant
    12 Period.
    13         44.   According to the Company, “We launched EMAX with a vision to
    14 bridge the gap between the emergence of community-driven tokens and the well-
    15 known foundational coins of crypto, creating a unique token that provides lifestyle
    16 perks with financial rewards and incentives to its holders with a pathway for practical
    17 long-term use in everyday life.”4 The founders’ “approach to bridging this gap was
    18 to simplify the complex and instill confidence through a trusted circle that can
    19 provide guidance and instill trust.”5
    20         45.   In plain terms, EthereumMax’s entire business model relies on using
    21 constant marketing and promotional activities, often from “trusted” celebrities, to
    22 dupe potential investors into trusting the financial opportunities available with
    23 EMAX Tokens. The whitepaper was reviewed by ICOLAW P.C., a law firm located
    24 in Los Angeles, California.
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    26   4
              See Whitepaper, EthereumMax–Disrupt History, ETHEREUMMAX.ORG, at 5
    27 (v.1, Oct. 2021), https://ethereummax.org/wp-content/uploads/EthereumMax-White
       paper-v1-Final.pdf.
    28 5      Id. at 7.
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     1        46.    The Company later even bragged in its whitepaper that its “expertise in
     2 marketing strategy and managing relationships” was a “key area” for
     3 EthereumMax’s successful promotional efforts in the preceding six months (i.e., the
     4 Relevant Period):
     5        Each week we track and analyze our marketing efforts, continuing to
              make strategic modifications to optimize engagement for week-over-
     6        week improvements and impact. If we can do all of this in less than 6
              months, imagine what the future holds? The best is yet to come.6
     7
     8        The Pump – Promotor Defendants Shill EthereumMax
     9        47.    As the subsequently released whitepaper acknowledged, the Executive
    10 Defendants actively recruited and retained the Promoter Defendants to serve as the
    11 promotors for the launch of the EMAX Tokens in May 2021.
    12        48.    The Promotor Defendants are sophisticated public figures with
    13 familiarity and experience with endorsement contracts.
    14        49.    Upon information and belief, the Promoter Defendants received EMAX
    15 Tokens and/or other forms of consideration as part or all of their compensation for
    16 promoting EthereumMax.
    17        50.    For example, a combined search of the Ethereum Blockchain Explorer
    18 (“Etherscan”) and the non-fungible token marketplace OpenSea shows that a wallet
    19 owned/controlled by Pierce received and sold millions of dollars’ worth of EMAX
    20 Tokens while Pierce simultaneously promoted EMAX Tokens to investors.
    21        51.    As a starting point, on May 28, 2021 Pierce posted a screenshot of his
    22 trading account with 15,858,700,525,204.817 EMAX Tokens valued at
    23 “$2,519,268.89,” which had increased “83.34% ($1,145,469.23)” on the one day
    24 chart.7 The caption to the image posted by Pierce contained the following string of
    25 emojis:
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    27      Id. at 48.
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            https://twitter.com/paulpierce34/status/1398294745806299139?s=20&t=V-
    28 OgyFf-y6rqaCh_CgzpGg.
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    11         52.   Notably, while Pierce covered up his wallet’s actual address, he left the
    12 unique image displayed as the wallet’s profile picture unredacted. This image is a
    13 direct match to an image associated with Wallet 0x70f5A6 on the OpenSea
    14 exchange. An examination on Etherscan of some of the other digital assets within
    15 Wallet 0x70f5A6 shows additional connections to Pierce, further confirming that
    16 Wallet 0x70f5A6 is under Pierce’s ownership/control.            For example, Wallet
    17 0x70f5A6 trades in Ethernity tokens. Pierce has direct connections to Ethernity via
    18 his participation in a celebrity charity poker tournament sponsored and/or promoted
    19 by Ethernity.8 Pierce even played at the same table with Ethernity’s CEO, Nick
    20 Rose, on September 26, 2021.
    21         53.   An examination of Pierce’s wallet’s trading activity in conjunction with
    22 Pierce’s social media activity shows that Pierce made millions of dollars trading (and
    23 selling) EMAX Tokens while simultaneously promoting the tokens to investors as
    24 sound long-term investments.
    25         54.   Initially, on May 24, after making a small transfer of approximately
    26 $13,350 (seemingly as a test to confirm that the transfer between wallets could be
    27
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             https://thecryptobasic.com/2021/09/26/paul-pierce-phil-ivey-mr-beast-and-
    28 joe-lubin-tonight-in-virtue-pokers-awaited-celebrity-charity-poker-tournament/.
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     1 done successfully), Pierce’s wallet received an “airdrop” of approximately 15 trillion
     2 now-defunct EMAX Tokens from the beta version of the EthereumMax deployer
     3 wallet.9
     4         55.    On May 25, 2021, Pierce received an approximate equivalent of 15.4
     5 trillion new EMAX Tokens via the EthereumMax deployer wallet, valued at around
     6 $1,350,000 in cash at the time. That same day, Pierce also additionally purchased
     7 around 110 billion EMAX Tokens for about $10,000.
     8         56.   On May 26, 2021, Pierce received approximately 247 billion additional
     9 EMAX Tokens from a second EthereumMax deployer wallet “airdrop.”
    10         57.   That same day, Pierce promoted EthereumMax in a widely discussed
    11 post on the social media platform Twitter during an online dispute between Pierce
    12 and the television broadcasting network ESPN.10 Prior to the May 26 post, Pierce
    13 had worked for ESPN as a popular sports analyst and commentator until he was fired
    14 for an unrelated video he had previously posted to his social media account. After
    15 his firing, Pierce publicly slammed ESPN while conversely praising EthereumMax’s
    16 ability to make money for him at the same time:
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    26        A “deployer wallet” refers to the original wallet or central interaction point
       for a token’s liquidity.
    27 10     See, e.g., Jenna Lemoncelli, Paul Pierce’s ESPN revenge after firing over
       stripper video, N.Y. POST (May 26, 2021), https://nypost.com/2021/05/26/paul-
    28 pierce-slams-espn-with-cryptocurrency-claim/.
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    11        58.   The trading volume for the EMAX Token exploded as a result of

    12 Pierce’s post and the Company’s announcement that it was partnering with
    13 Mayweather, Jr. (discussed further below). On May 26, 2021, the volume reached
                                                                       11
    14 $44.43 million – almost five times higher than the previous day. Then, on May
                                                                12
    15 27, the volume more than doubled reaching $107.7 million. That same day, Pierce
    16 purchased an additional 120 billion EMAX Tokens.
    17       59. Then on May 28, 2021, as noted above, Pierce again promoted EMAX

    18 Tokens’ price growth to his followers on Twitter, boasting about the one-day
    19 increase in the EMAX Token price of over 83%.
    20        60.   On May 29, 2021, the very next day, Pierce enacted 118 sells, totaling

    21 approximately 8.4 trillion EMAX Tokens that were valued at around $5,500,000 at
    22 the time. Pierce then capitalized further on his successful pump of the EMAX
    23 Tokens trading volume. Pierce made 12 buys totaling 1.214 trillion EMAX Tokens,
    24 then immediately turned around and sold those 1.214 trillion EMAX Tokens plus an
    25 additional 680 billion EMAX Tokens (i.e., 1.89 trillion EMAX Tokens in total).
    26
         11
            NOMICS, EMAX - EthereumMax 3 Historical Price Data, https://nomics.
    27 com/assets/emax3-ethereummax-3/history/3.
       12
    28      Id.
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     1        61.    From May 30, 2021 to June 2, 2021, Pierce amassed another 2.5
     2 Trillion EMAX Tokens through numerous buys and sells.
     3        62.    On May 30, 2021, Pierce posted the following tweet13, promoting
     4 Ethereum Max:
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    11        63.    Three days after falsely telling investors he was in it “for the long haul”
    12 with EthereumMax, Pierce sold approximately 9.7 trillion EMAX Tokens worth
    13 approximately $1,300,000.
    14        64.    On June 6, 2021, around 97.4 billion EMAX Tokens were transferred
    15 to Pierce’s wallet. That same day, Pierce promoted EthereumMax to investors,
    16 falsely stating that he was going to “double down” on Ethereum Max.14 Two days
    17 later, Pierce sold over 98% of those 97.4 billion EMAX Tokens.
    18        65.    These complicated transactions demonstrate a pattern by which Pierce
    19 and other promotors, including the Promoter Defendants, are given tokens as a
    20 payment for promotions, they go out and post about the tokens on social media, then
    21 turn around and sell the tokens for profit as retail investors buy in. The entire
    22 purpose of this paid promotion is for pumping and dumping the tokens based on the
    23 value created by the Promoter Defendants’ direct action.              Furthermore, the
    24 complexity of these financial transactions and movements between wallet address
    25
    26   13
          https://twitter.com/paulpierce34/status/1399013195151417345?s=20&t=qpvEL-
    27 yI0O2jszrSIxCfcA.
       14
              https://twitter.com/paulpierce34/status/1401413650691280899?s=20&t=Sr
    28 B147wN07nQ8YSjpC6-PA.
                                                 14
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     1 demonstrates that the Promoter Defendants understand how to both time and execute
     2 their selling strategy.
     3         66.   Upon information and belief, all of the Promoter Defendants received
     4 similar payments, including disbursements of tokens from the EthereumMax
     5 deployer wallet and/or marketing wallet or for other consideration, and cashed out
     6 shortly after engaging in their respective promotional activities in a similar manner
     7 to Pierce.
     8         67.   This is why Maher was a vital part of the Executive Defendants’ plan
     9 for marketing the EMAX Tokens. He has direct, familial ties to certain Promotor
    10 Defendants. For example, Maher has a personal relationship with Davis, who is his
    11 brother-in-law and business associate.      According to Maher, he brought the
    12 EthereumMax project to Davis specifically to leverage Davis’ cryptocurrency-
    13 investing followers on social media.
    14         68.   On or around May 16, 2021, Maher removed $10,000 from the EMAX
    15 Token liquidity pool to pay cryptocurrency influencer and promotor Russ Davis and
    16 professional football player Antonio Brown to promote EthereumMax.
    17         69.   Davis reposted the following promotion from the EthereumMax official
    18 Twitter account to his own personal “InRussWeTrustCrypo” account:15
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    27   15
            https://twitter.com/ethereum_max/status/1393984963616419842?s=20&t=
    28 qpvEL-yI0O2jszrSIxCfcA.
                                            15
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     1        70.    Notably, according to Maher, the development team had “messed up”
     2 both the initial launch and the liquidity pool, leaving Maher and other insiders with
     3 a huge percentage of the available Float.        Moreover, the liquidity pool was
     4 underfunded. Thus, small amounts of trading volume had a disproportionately large
     5 impact on the EMAX Tokens’ price.
     6        71.    That same day Speer promoted the EMAX Tokens in a video he posted
     7 to his personal YouTube channel, wherein Speer advised retail investors “How to
     8 buy EthereumMax.”16 Notably, Speer told retail investors about “a coin that just
     9 launched about 48 hours ago and it is taking off.” Speer added that the EMAX
    10 Tokens price has “tons of room to go” and that the EthereumMax leadership team
    11 and insiders consisted of “lots of same hype and people behind it as Shiba.” Speer
    12 further compared EMAX Tokens’ potential to the massive surge in price that
    13 occurred with the Shiba Inu coin, claiming that the EMAX Token price was “only
    14 going up long term.”
    15        72.    Throughout the video, Speer attempted to disclaim inside knowledge of
    16 the EMAX Token by stating he was not a “crypto expert” in an effort to mislead
    17 retail investors into believing that Speer simply stumbled onto the EMAX Token
    18 accidentally instead of him being an EthereumMax founder and/or insider. For
    19 example, Speer states that the EthereumMax website is “vague” and that “they” did
    20 not yet have a whitepaper in a misleading attempt to distance himself from the
    21 EthereumMax leadership team.
    22        73.    In the caption to Speers’ video, he explains the following 18 steps that
    23 retail investors need to take to purchase the EMAX Tokens:
    24        Step 1: Purchase your ETH on whatever exchange you use.
    25        Step 2: Transfer to Coinbase Wallet.
    26        Step 3: Go to https://app.uniswap.org/#/swap
    27
    28   16
              https://www.youtube.com/watch?v=bi6ZeRzC-QQ.
                                            16
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     1        Step 4: Click add token to transfer to from ETH. Paste in this address:
     2        0x15874d65e649880c2614e7a480cb7c9A55787FF6.
     3        Step 5: Think long and hard, can you risk this money and still pay your
     4        bills? It’s a serious question. It’s ok if the answer is no. Please do not
     5        proceed.
     6        Step 6: Can you leave this money in eMax for a couple of months?
     7        If yes, proceed below. If the answer is no, the reason why you
     8        shouldn’t buy is because you will be part of the reason for a price
     9        drop if you sell. This coin is only a couple of days old as of May
    10        16th. Holders help the price stabilize. Paper hands drive price
    11        down
    12        Step 7: Click connect to wallet and click Coinbase
    13        Step 8: Select ETH to eMax – Select the amount you want to transfer
    14        Step 9: Click the gear in the top right, change slippage to 10%, close
    15        gear
    16        Step 10: Make sure you have extra ETH outside of the amount you are
    17        using to purchase for the fees.
    18        Step 11: Press swap + confirm / accept etc.
    19        Step 12: There won’t be any dollar value in your CB Wallet because
    20        it’s new
    21        Step 13: Go to the App Store and download Zerion
    22        Step 14: Go to your CB Wallet click receive and get your ETH address
    23        Step 15: Go back to Zerion and click import wallet
    24        Step 16: Paste your ETH address
    25        Step 17: Wait a few minutes and it will populate the dollar amount.
    26        Step 18: Enjoy and HODL
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    28
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     1         74.   As the above instructions indicate, Speer’s instructions to retail
     2 investors state that EMAX Token holders should be prepared to “leave this money
     3 in eMax for a couple of months,” suggesting that the EMAX Tokens were a long-
     4 term investment because “Holders help the price stabilize. Paper hands17 drive price
     5 down.”
     6         75.   The promotion from Davis and Speer kick-started the interest in and
     7 buying of EMAX Tokens. In fact, Maher used the large spikes in price chart
     8 (actually caused by the low liquidity pool funding) to promote EMAX Tokens’
     9 potential for significant returns to investors.
    10         76.   Shortly after his promotion, Davis began selling off his EMAX Tokens,
    11 causing the price of the tokens to plummet until Maher was able to reach a deal with
    12 Davis to lock up some of the massive EMAX Token holdings.
    13         77.   Upon information and belief, the following wallet addresses are
    14 owned/controlled by Davis and were used to conceal his transactions (i.e., timing of
    15 sales) with EMAX Tokens:
    16                     0xe3FA73f404EA11C9Ce3DCA4B474cD99D6283134C
    17                     0xd0AEE2df438Ccea32194dACFf330083B04277D71
    18                     0x74dEc05E5b894b0EfEc69Cdf6316971802A2F9a1
    19                     0x663f4bf1816d771415fffa86aabc1ee273b92055
    20                     0xfEd37836fE065496c608E32073D0E759F96989b3
    21                     0xfb34b53aa6a5840ae740b9818db34b854818de85
    22                     0x9b1fbe51576d00d1f3a484d9c3c5c52a09866f78
    23                     0xacd3f3835a3dd7865560953eb745d5f8dba6ce33
    24                     0x037a7c7c8bAAbBd64aC735F505deF3423528dbA5
    25                     0x5e47AAE49eAA9D176E3c09b6bc0844BdfBBa27e0
    26                     0x027A16926de9f38523a71d19d6998923085Dc093
    27
         17
            Having “paper hands” is a term used in cryptocurrency trading that refers to
    28 someone that sells at the first sign of a price drop.
                                                  18
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     1                  0xeB3E690C8ee0299B18Fa40B9B21F54c690b00a7b
     2                  0x05e45ebBFD62b5E448e0073ABFB4a956FE13f4d1
     3                  0xE7494f0D06142c70eF1382bb4F5629bA3B377FCd
     4                  0x35278BF7f391285818F9092c860D698010802f7D
     5                  0xbcac50256345775e4bbff526b247b3d68a0f10ca
     6                  0xe277f115a3758e802e40869545646f8142be00ca
     7                  0x0eb5101719662a00bf4c22e03374a7ffd11f4092
     8                  0x45f433ae7553900d7ae7af8a1b0d35c3eb7ece46
     9                  0xce3e48caeb5d0e9124b2b1dcab8b47818fcedc7
    10                  0x47bA7f557a361A12BB1b28DA1Fb3323dc7C942f4
    11                  0xd7292AA5924D4f536B9E996cB7FC4bE21b6c3357
    12                  0xDF6300635c490408C393c1DAdBE7Ba8e88cdBb8B
    13                  0xBa299a1FE0Da7B443Bf444FDCd0C2a5F2506D2B1
    14                  0x77Dc423692480979DFdC904278D3d0ec0474782d
    15                  0xfF773b585638D599C64d8ac02e73D12bd9807C30
    16                  0x97758D2C5533663042D72d5389Ef4Bb5c89EAe60
    17                  0xe3254c36fEedF4211D405718702a0389f5871c85
    18                  0x1C58CE90Fa5A610649Ab172000F41b909A9Efc83
    19                  0x761493a52595F7016493b4a7515180d504CdF28f
    20                  0x1711bc52bf7e0494325799717fe640F1924617B7
    21                  0x53061173fbf4CD5886b01d1c68DA266A9B479E1b
    22                  0x4e28ab721c1C3180A82B6a758C081f9Cc4CDd702
    23                  0x233834E733EFf003598e8B6eD1082C984a1E8D53
    24                  0x967f1dC29158486eBE771942e094C41B0AD7F57d
    25                  0x1C473aFE50E060AD872Fb1a209C6b2F257Bdbd5B
    26                  0x4a302Af80dc286714fE22db4855B5024317449eB
    27                  0x7fFA930D3F4774a0ba1d1fBB5b26000BBb90cA70
    28
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     1                    0x2930662Fa96cA799C9913264B83E227C7f828105
     2                    0xbe3167f8687d0f6b81a053f938ae335333eeb549
     3                    0x1e7a2e2bbea1362d49c06951f3265d9d6bc90386
     4                    0x64fba1c5e31d8f7ee0194f67ed9c5fed1a17b241
     5                    0xe477aE0b50f2985592BDc1e5aC91f59c93111955
     6                    0xacD3f3835A3dd7865560953eb745d5F8dbA6CE33
     7                    0x74dEc05E5b894b0EfEc69Cdf6316971802A2F9a1
     8                    0x69c97ceb87f0b121d92a3aa57bf7845d2dda4e3e
     9        78.   On May 21, 2021, Speer uploaded another video to his YouTube
    10 channel promoting EthereumMax generally and specifically providing investors
    11 with instructions on how to purchase EMAX Tokens.18 Again, Speer did not reveal
    12 to investors that he was a part of the EthereumMax leadership team.
    13        79.   Two days later, on May 23, 2021, Speer uploaded an audio recording
    14 from Perone to Speer’s YouTube channel,19 wherein Perone states that Ethereum
    15 Max’s use of “high level” brand ambassadors and promotors “legitimized” the
    16 project. Perone also touted the “technological upgrades” that were on the way for
    17 the EthereumMax project. Perone repeatedly proclaimed that he will be meeting
    18 retail investors “on the moon” when the price of EMAX Tokens rises after the
    19 marketing campaign created by the Executive Defendants and executed by the
    20 Promotor Defendants was successful.
    21        80.   According to Maher, the Executive Defendants were “wildly
    22 connected” and understood the impact that celebrity promotion and marketing could
    23 have on the price and trading volume of the EMAX Tokens. Upon information and
    24 belief, the Executive Defendants leveraged their respective contacts to recruit
    25
    26
    27   18
              https://www.youtube.com/watch?v=3CZv0FFn7S8.
    28   19
              https://www.youtube.com/watch?v=HMbWVXUWB5I.
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     1 additional celebrities to promote the EMAX Tokens in exchange for a portion of the
     2 Float.
     3          81.   For example, Maher, Perone, and Davis arranged to hire former world
     4 champion boxer, Floyd Mayweather, Jr. as Ethereum Max’s “marquee” promotor
     5 for a fee of $1,000,000 as his “first down payment” and then $1,500,000 as a second
     6 payment. Notably, “everything that was sent to Mayweather was in Ethereum and
     7 cashed out immediately.”      According to Maher, Mayweather’s representatives
     8 refused payment in EMAX Tokens and instead received payment in Ethereum,
     9 which has significantly more price stability. In order to raise the Ethereum needed
    10 for Mayweather’s payment, Maher and Davis sought out large holders of Ethereum
    11 and offered them a “sweetheart” deal relative to the amount of Ethereum needed for
    12 celebrity promotion payments. For example, in exchange for providing $500,000
    13 worth of Ethereum, they would give the Ethereum provider $2,000,000 of EMAX
    14 Tokens. As Maher observed, however, most often, the Ethereum provider would
    15 then immediately sell the $2,000,000 in EMAX Tokens on the open market. This
    16 tremendous downward selling pressure caused the price of the EMAX Tokens to
    17 drop.
    18          82.   Upon information and belief, the Executive Defendants were able to
    19 and did make similar payments to other celebrity promoters during the Relevant
    20 Period to “shill” the EMAX Tokens, including social media influencer Amber Rose,
    21 nightclub promotor and hotelier David Grutman, celebrity jeweler “Eric da Jeweler,”
    22 NFL wide receiver Juju Smith Schuster, and musician French Montana.
    23          83.   On May 26, 2021, at the same time Pierce was promoting EMAX
    24 Tokens as paying him more than ESPN, EthereumMax issued a press release
    25 announcing that it was “now the exclusive CryptoCurrency accepted for online ticket
    26 purchasing for the highly anticipated pay-per-view boxing event between
    27 Mayweather and social media influencer Logan Paul on June 6, 2021 in Miami
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     1 Gardens, Florida.”20      The press release directed investors seeking “more
     2 information” to visit the Company’s social media accounts and the “Fight Website”
     3 with the following hyperlink: https://mayweatherpaultickets.com/.
     4         84.   The Fight Website featured Mayweather and offered various incentives
     5 for those purchasing online tickets with EMAX Tokens, including: “Orders over
     6 $5000 will receive authentic, signed Floyd Mayweather boxing gloves”; “2 front
     7 row ringside tickets available exclusively for EthereumMax purchase”; “All
     8 EthereumMax purchases receive 10% discount at checkout”; and “Tickets purchased
     9 with EthereumMax automatically entered into a lottery drawing to attend the official
    10 Mayweather after-party at a private table at LIV.”21
    11         85.   On May 28, 2021, EthereumMax released a press release entitled
    12 “EthereumMax ($eMax) Disrupts Miami Ahead of Mayweather vs. Paul Fight as the
    13 First Crypto Currency of Major Nightclubs LIV and Story.” The press release came
    14 out of Los Angeles and highlighted the previous Mayweather v. Paul release and
    15 quoted Pierce’s tweet verbatim.22
    16         86.   On or about May 29, 2021, Brown promoted EthereumMax in the
    17 following now-deleted “story” post on his personal Instagram account:
    18
    19
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                Press Release, EthereumMax, Huge Milestone for Practical Use of $eMax
    24   (May 26, 2021, PR Newswire), https://www.prnewswire.com/news-releases/huge-
         milestone-for-practical-use-of-emax-301300421.html.
    25   21
                Fight Website, https://mayweatherpaultickets.com/.
         22
    26          Press Release, EthereumMax, EthereumMax ($eMax) Disrupts Miami Ahead
         of Mayweather vs. Paul Fight as the First Crypto Currency of Major Nightclubs LIV
    27   and Story (May 28, 2021, PR Newswire), https://www.prnewswire.com/news-
         releases/ethereummax-emax-disrupts-miami-ahead-of-mayweather-vs-paul-fight-
    28   as-the-first-crypto-currency-of-major-nightclubs-liv-and-story-301301958.html.
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    11        87.   On May 30, 2021, Kardashian and nightclub promotor and hotelier
    12 David Grutman promoted EthereumMax on their respective social media accounts.
    13 For example, Kardashian’s promotion of the EMAX Tokens to her hundreds of
    14 millions of followers also did double duty of promoting the club “LIV” which is
    15 partly owned by Grutman (also a longtime friend and associate of Kardashian):
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     1         88.   Following the     aforementioned promotions       from Brown and
     2 Kardashian, and the announcement of the partnership with Mayweather, the trading
     3 volume for EMAX Tokens spiked. In particular, the volume went from $25 million
     4 on May 27, 2021 to $80.9 million on May 28 after the Mayweather announcement.
     5 Then it jumped to $112.5 million following Brown’s post. Kardashian’s promotion
     6 generated another $75.5 million in EMAX Token trading volume on May 30, 2021
     7 before dropping precipitously.23
     8         89.   On June 1, 2021, Maher left the EthereumMax project with about $4.1
     9 million worth of Ethereum Max, of which he subsequently sold off approximately
    10 98%. No later than July 22, 2021, Maher was confronted about his selling activities
    11 with EMAX Tokens. In particular, in the comments section of one of Davis’
    12 Facebook posts, an investor posted a wallet address speculated to belong to Maher,
    13 which showed suspicious selling activity. Maher bragged about his ability to
    14 conceal his financial movements and mocked the investor who tried to identify
    15 Maher’s wallet address: “haha yeah unfortunately that’s not one of my secret wallets.
    16 Good try though sleuth. I cleaned all the money I shifted through exchanges first.
    17 You’d never be able to track it to what wallets I sent it to. Good try though.”24
    18         90.   On June 4, 2021, former world champion boxer, Mayweather, Jr.,
    19 attended the “Bitcoin 2021” conference in Miami. While there, instead of discussing
    20 the cryptocurrency that was the focus of the conference (i.e., Bitcoin), Mayweather
    21 promoted EthereumMax. In particular, Mayweather and his entourage wore t-shirts
    22 with EthereumMax emblazoned across the chest. At the same time, Mayweather
    23 proclaimed during a panel discussion: “I believe there’s gonna be another
    24 cryptocurrency just as large as Bitcoin some day.”25
    25
         23
             https://coinmarketcap.com/currencies/ethereummax/historical-data/.
    26 24
       25
             See https://www.youtube.com/watch?v=iyDeOfZnOaY.
    27       Jeff Benson, Floyd Mayweather, Sponsored by Ethereum Token, Gets Booed
       at Bitcoin Conference, DECRYPT (June 4, 2021), https://decrypt.co/72807/floyd-
    28 mayweather-sponsored-ethereum-token-gets-booed-bitcoin-conference.
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     1        91.   Two days later, on June 6, 2021, Mayweather similarly promoted
     2 EthereumMax during his highly viewed exhibition boxing match with internet
     3 celebrity-turned-boxer, Logan Paul.26
     4        92.   Between June 4, 2021 and June 6, 2021, the trading volume for EMAX
     5 Tokens spiked from $15.7 million to $24.5 million.27
     6        93.   On June 8, 2021, Executive Defendants Gentile and Perone, along with
     7 Josh James (the lead developer at EthereumMax), uploaded a video of themselves
     8 on Executive Defendant Speers’ YouTube channel entitled “Addressing the $eMax
     9 Community – EthereumMax.”28 Gentile and Perone identified themselves as the
    10 “creators” of EthereumMax, and explained that Mr. James had recently joined
    11 EthereumMax as its new lead developer.
    12        94.   Perone described his prior experience in “the hedge fund space” and
    13 had “significant experience structuring nuanced securitizations and financing
    14 arrangements,” and he touted EthereumMax as something “special” with “real
    15 sustainability.”   Perone also stated that they were able to forge a “landmark
    16 agreement with the Mayweather team” and reassured investors regarding the
    17 “volatility” in the EMAX Token price. Gentile further stated that EthereumMax’s
    18 work with “launching ambassadorships and working with influencers” was not
    19 solely in preparation for the Mayweather fight, but rather “the launch point” with
    20 “great prospects moving forward.”
    21        95.   Gentile also noted that his background-involved specialties revolved
    22 around marketing and brand development and he exclaimed that EthereumMax was
    23
    24   26
               Brendan Rearick, EthereumMax (EMAX) Price Predictions: Can Floyd
         Mayweather Help EMAX Win the Fight?, MSN (June 7, 2021), https://www.
    25   msn.com/en-us/money/markets/ethereummax-emax-price-predictions-can-floyd-
         mayweather-help-emax-win-the-fight/ar-AAKNxNi.
    26   27
               NOMICS, EMAX - EthereumMax 3 Historical Price Data, https://nomics.
    27   com/assets/emax3-ethereummax-3/history/3.
         28
               Mike Speer, Addressing the $eMax Community – EthereumMax, YOUTUBE
    28   (June 7, 2021), https://www.youtube.com/watch?v=CkR8QJrNubI.
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     1 a “super exciting project” and that he was “excited for the updates” that would be
     2 “rolling out in the near future.” Gentile claimed that it was “going to be beneficial
     3 not only to the token, but more importantly the community.”
     4        96.    During a pseudo question and answer portion of the video, Gentile
     5 brought up investors’ questions about a “rug pull” of the EMAX Token and asked
     6 Perone to “nip it in the bud.” Perone stressed that the EthereumMax team was in for
     7 the long term, stating, among other things, that the Executive Defendants were
     8 “looking to lock the wallets” to show investors that they “were here to stay.”
     9        97.    On June 14, 2021, Kardashian posted the following solicitation for
    10 EthereumMax on her Instagram account, which has over 250 million followers:
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    21        98.    As noted in a scathing op-ed piece called “Celebrity Crypto Shilling Is
    22 a Moral Disaster,” Kardashian’s “post was an immediate sensation, and a touch
    23 controversial.” The EMAX Token was “only a month old, few had heard of it, and
    24 it wasn’t even obvious how the ‘token’ was supposed to work. More than that,
    25 Kardashian was urging her 251 million Instagram followers to get involved in a
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     1 highly volatile, speculative market that’s little different than gambling in the world’s
     2 most fraudulent casino.”29
     3         99.   Kardashian’s promotion had tremendous reach. The financial services
     4 company, Morning Consult, analyzed “the impact of celebrities on crypto investor
     5 decisions,” and, in particular, the impact of Kardashian’s EthereumMax post. The
     6 survey found that up to 21% of all American adults and nearly half of all
     7 cryptocurrency owners had seen this ad for a risky financial instrument.
     8 Furthermore, Kardashian’s “conversion was also impressive: A striking 19% of
     9 respondents who said they heard about the post invested in EthereumMax as a
    10 result.”30
    11         100. The chair of the Financial Conduct Authority (“FCA”) in the United
    12 Kingdom, Charles Randall, in a September 6, 2021 speech given to the Cambridge
    13 International Symposium on Economic Crime, remarked that Kardashian’s
    14 EthereumMax post was “the financial promotion with the single biggest audience
    15 reach in history.”31
    16         101. Notably, Kardashian’s post did include a promotional disclosure in the
    17 post itself. However, this disclosure is tucked in the far bottom right of the post and
    18 is just three characters long: “#AD.” The promotion was false and misleading in
    19 that Kardashian was purportedly just “sharing what my friends just told me about
    20 the Ethereum Max Token!” Moreover, by stating that “Ethereum Max Burned 400
    21 trillion tokens – Literally 50% of their Admin Wallet” the promotion created a false
    22
    23   29
               Ben McKenzie and Jacob Silverman, Celebrity Crypto Shilling Is a Moral
    24   Disaster, SLATE (Oct. 7, 2021), https://slate.com/technology/2021/10/ben-
         mckenzie-crypto-celebrities-kardashian-brady-lohan.html.
    25   30
               Charlotte Principato, Kim Kardashian, Cryptocurrency and Celebrity Clout,
         MORNING CONSULT (Sept. 21, 2021), https://morningconsult.com/2021/09/21/kim-
    26   kardashian-crypto-celebrity/. [Emphasis added.]
         31
    27         Speech by Charles Randell, The risks of token regulation, Cambridge
         International Symposium on Economic Crime, Sept. 6, 2021, https://www.fca.org.
    28   uk/news/speeches/risks-token-regulation.
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     1 impression that the EMAX Tokens were scarce. Because two quadrillion tokens had
     2 been originally created, the burning of 400 trillion tokens did not meaningfully
     3 impact the availability of EMAX Tokens.
     4        102. While it is unclear what the precise terms are of the financial
     5 compensation that Kardashian was given by the Executive Defendants, Kardashian
     6 routinely gets paid between $300,000 and $1 million for most promotional posts.
     7 Kardashian even stated that she makes more money off these promotions than an
     8 entire season of her reality television show.32
     9        103. Kardashian also has experience and familiarity with making misleading
    10 claims in similar promotional endorsements on her Instagram and Twitter accounts.
    11 For example, in 2015, the United States Food and Drug Administration ordered
    12 Kardashian to remove a promotional post she had made with a strikingly similar
    13 beginning to the EthereumMax Post at issue in this action33:
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    20
    21        104. Pierce, Brown, and Davis did not include any promotional disclosures
    22 when they promoted EthereumMax throughout May and June of 2021.
    23
    24
         32
              Alicia Brunker, Kim Kardashian Says She Makes More Money on Instagram
    25 Than for an Entire Season of KUWTK, INSTYLE (Oct. 18, 2020), https://www.
       instyle.com/celebrity/kim-kardashian-makes-more-money-on-instagram-than-
    26 kuwtk.
       33
    27        Mark Sweney, Kim Kardashian forced to delete selfie endorsing morning
       sickness drug, THE GUARDIAN (Aug. 12, 2015), https://www.theguardian.com
    28 /media/2015/aug/12/kim-kardashian-selfie-morning-sickness-drug-instagram.
                                             28
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     1        105. It does not appear that Mayweather has disclosed any payments either
     2 for his promotion of EthereumMax on June 4 and 6. Mayweather does have
     3 experience with being fined previously over improper cryptocurrency promotion,34
     4 and, as a result, he knew or should have known that his conduct alleged herein was
     5 improper.
     6        106. In November 2018, Mayweather and another celebrity promotor settled
     7 charges with the United States Securities and Exchange Commission for failing to
     8 disclose payments they received for promoting fraudulent cryptocurrency
     9 investments. One of the posts at issue there was one that Mayweather made on
    10 Twitter, stating “You can call me Floyd Crypto Mayweather from now on” and a
    11 promotion with the message to his Twitter followers that a company’s fraudulent
    12 initial coin offering “starts in a few hours. Get yours before they sell out, I got
    13 mine[.]”    As part of the settlement, Mayweather agreed to pay “$300,000 in
    14 disgorgement, a $300,000 penalty, and $14,775 in prejudgment interest.”         In
    15 addition, Mayweather agreed not to promote any securities – digital or otherwise –
    16 for three years. The settlement was dated November 29, 2018, meaning that this
    17 agreement was blatantly violated in connection with Mayweather’s EthereumMax
    18 promotion. Mayweather, therefore, had an understanding that his own conduct, as
    19 well as the conduct of the Executive Defendants, was improper and fraudulent.
    20        107. Maher has experience with financial regulations from his position as a
    21 financial advisor at Northwestern Mutual Investment Services, LLC from 2011 to
    22 October 13, 2021. Maher knew or should have known that his conduct alleged
    23 herein was improper. Notably, Maher was “permitted to resign” from this position
    24 in 2021 “while under internal review for allegations that [Maher] was involved in a
    25 cryptocurrency shilling scam.”35
    26
         34
             Press Release, SEC, Two Celebrities Charged with Unlawfully Touting Coin
    27 Offerings, (Nov. 29, 2018), https://www.sec.gov/news/press-release/2018-268.
       35
    28       https://adviserinfo.sec.gov/individual/summary/5504995.
                                                29
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     1         The Dump – EMAX Token price plummets
     2         108. Following the EMAX Tokens’ launch and Defendants’ promotional
     3 activities in May 2021, the trading volume and price of EthereumMax surged. By
     4 May 30, EMAX already had a transaction volume of over $100 million, up 632% in
     5 just two weeks. The day before, it reached its maximum price of $0.000000863,
     6 which represents a rise of 1,370% more than its initial price of $0.00000005875.
     7         109. However, this meteoric rise did not last long, and EthereumMax began
     8 to deflate immediately after Kardashian’s post. On July 15, 2021, the price of the
     9 EMAX Token hit its all-time low: $0.000000017 per unit, a 98% drop from which
    10 it has not been able to recover. Investors were left holding worthless tokens, with
    11 the cost in transaction fees and gas fees to swap back into Ether far exceeding what
    12 investors would actually receive in Ether. On August 1, 2021, its transaction volume
    13 plummeted to $157,423, which is less than a hundredth of its initial capital. On April
    14 1, 2022, transaction volume was less than $13,000.
    15         110. The Promoter Defendants’ improper promotional activities generated
    16 the trading volume needed for all the Defendants to offload their EMAX Tokens
    17 onto unsuspecting investors. While Plaintiffs and Class members were buying the
    18 inappropriately promoted EMAX Tokens, Defendants were able to, and did, sell
    19 their EMAX Tokens during the Relevant Period for substantial profits. According
    20 to Perone, the Executive Defendants did not “lock” their EMAX Token wallet
    21 addresses until after the Relevant Period.
    22         111. The EMAX Token price still has not recovered and trading volume
    23 remains down significantly. As bluntly noted in McKenzie’s op-ed: “If you bought
    24 EthereumMax after Kardashian pushed it and didn’t sell fast enough, all you were
    25 left with was a practically worthless digital asset.”36
    26
    27
         36
    28         See n.29, supra.
                                                  30
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     1        112. The following chart from the London Financial Times37 shows the rise
     2 and fall of the EMAX Tokens’ price in conjunction with the Promoter Defendants’
     3 promotional activities:
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    13
    14        Regulators Raise Concerns that EthereumMax Is a “Pump and Dump”
              Scam
    15
    16        113. Following the precipitous drop of the EMAX Token price in the wake
    17 of Kardashian’s EthereumMax post, the United Kingdom’s FCA chair issued a
    18 statement noting that Kardashian’s promotion of the EMAX Token could be
    19 “fraudulent.” Specifically, Charles Randall, director of the FCA, gave a speech
    20 about the need for a “permanent and consistent solution to the problem of online
    21 fraud from paid-for advertising.”38
    22        114. Cryptocurrency “scams” were one of the topics that Randall
    23 specifically addressed, and during that portion of the speech, Randall specifically
    24 took issue with Kardashian’s EthereumMax post. Randall noted that “social media
    25
    26
    27   37
              https://www.ft.com/content/a6dd4d6f-6a86-48cc-992c-f8a32c64fdd7.
         38
    28        Id.
                                              31
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     1 influencers [like the Promoter Defendants] are routinely paid by scammers to help
     2 them pump and dump new tokens on the back of pure speculation.”39
     3         115. Randall further observed that the hype around speculative digital assets
     4 like the EMAX Token “generates a powerful fear of missing out from some
     5 consumers who may have little understanding of their risks. There is no shortage of
     6 stories of people who have lost savings by being lured into the crypto bubble with
     7 delusions of quick riches, sometimes after listening to their favourite influencers,
     8 ready to betray their fans’ trust for a fee.”40
     9         116. This is precisely what occurred with the Executive Defendants’ stated
    10 marketing strategy to use celebrities like the Promoter Defendants to “instill trust”
    11 from investors in EthereumMax in exchange for fees and/or EMAX Tokens – that
    12 the Promotor Defendants could sell for profits.
    13                                CLASS ALLEGATIONS
    14         117. Plaintiffs bring this action, individually, and on behalf of a nationwide
    15 class, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),
    16 defined as follows:
    17         All persons who, during the Class Period, purchased EthereumMax’s
               EMAX Tokens and were subsequently damaged thereby.
    18
    19         118. The Class Period is defined as the period between May 14, 2021 and
    20 June 27, 2021.41
    21         119. Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates,
    22 agents, employees, officers and directors; (c) Plaintiffs’ counsel and Defendants’
    23 counsel; and (d) the judge assigned to this matter, the judge’s staff, and any member
    24 of the judge’s immediate family. Plaintiffs reserve the right to modify, change, or
    25
    26   39
             Id.
       40
    27       See n.29, supra.
       41
             Plaintiffs reserve the right to expand or amend the Class Period based on
    28 discovery produced in this matter.
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     1 expand the various class definitions set forth above based on discovery and further
     2 investigation.
     3        120. Numerosity: Upon information and belief, the Class is so numerous
     4 that joinder of all members is impracticable. While the exact number and identity
     5 of individual members of the Class is unknown currently, such information being in
     6 the sole possession of EthereumMax and/or third parties and obtainable by Plaintiffs
     7 only through the discovery process, Plaintiffs believe, and on that basis allege, that
     8 the Class consists of at least hundreds of people. The number of Class members can
     9 be determined based on EthereumMax’s and other third party’s records.
    10        121. Commonality: Common questions of law and fact exist as to all
    11 members of each Class. These questions predominate over questions affecting
    12 individual Class members. These common legal and factual questions include, but
    13 are not limited to:
    14        a.     whether Defendants improperly and misleadingly marketed EMAX
    15 Tokens;
    16        b.     whether Defendants’ conduct violates the state consumer protection
    17 statutes asserted herein;
    18        c.     whether Promoter Defendants aided and abetted violations of the state
    19 consumer protection statutes asserted herein;
    20        d.     whether Executive Defendants conspired to artificially inflate the price
    21 to the EMAX Tokens and then sell their EMAX Tokens to unsuspecting investors;
    22        e.     whether Defendants have been unjustly and wrongfully enriched as a
    23 result of their conduct;
    24        f.     whether the proceeds that the Defendants obtained as a result of the sale
    25 of EMAX Tokens rightfully belongs to Plaintiffs and Class members;
    26        g.     whether Defendants should be required to return money they received
    27 as a result of the sale of EMAX Tokens to Plaintiffs and Class members;
    28
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     1         h.    whether Executive Defendants breached the implied covenant of good
     2 faith and fair dealing; and
     3         i.    whether Plaintiffs and Class members have suffered damages, and, if
     4 so, the nature and extent of those damages.
     5         122. Typicality: Plaintiffs have the same interest in this matter as all Class
     6 members, and Plaintiffs’ claims arise out of the same set of facts and conduct as the
     7 claims of all Class members. Plaintiffs’ and Class members’ claims all arise out of
     8 EthereumMax’s uniform misrepresentations, omissions, and unlawful, unfair, and
     9 deceptive acts and practices related to the sale of EMAX Tokens.
    10         123. Adequacy: Plaintiffs have no interest that conflicts with the interests of
    11 the Class and are committed to pursuing this action vigorously. Plaintiffs have
    12 retained counsel competent and experienced in complex consumer class action
    13 litigation. Accordingly, Plaintiffs and their counsel will fairly and adequately
    14 protect the interests of the Class.
    15         124. Superiority: A class action is superior to all other available means of
    16 fair and efficient adjudication of the claims of Plaintiffs and members of the Class.
    17 The injury suffered by each individual Class member is relatively small compared
    18 to the burden and expense of individual prosecution of the complex and extensive
    19 litigation necessitated by EthereumMax’s conduct. It would be virtually impossible
    20 for individual Class members to effectively redress the wrongs done to them. Even
    21 if Class members could afford individualized litigation, the court system could not.
    22 Individualized litigation would increase delay and expense to all parties and to the
    23 court system because of the complex legal and factual issues of this case.
    24 Individualized rulings and judgments could result in inconsistent relief for similarly
    25 situated individuals.    By contrast, the class action device presents far fewer
    26 management difficulties, and provides the benefits of single adjudication, economy
    27 of scale, and comprehensive supervision by a single court.
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     1         125. Defendants have acted or refused to act on grounds generally applicable
     2 to the Class, thereby making appropriate final injunctive relief and corresponding
     3 declaratory relief with respect to the Class as a whole.
     4             CALIFORNIA LAW APPLIES TO THE ENTIRE CLASS
     5         126. California’s substantive laws apply to every member of the Class,
     6 regardless of where in the United States the Class members reside.
     7         127.   California’s substantive laws may be constitutionally applied to the
     8 claims of Plaintiffs and the Class under the Due Process Clause, 14th Amend. §1,
     9 and the Full Faith and Credit Clause, Art. IV §1 of the U.S. Constitution. California
    10 has significant contact, or significant aggregation of contacts, to the claims asserted
    11 by Plaintiffs and all Class members, thereby creating state interests that ensure that
    12 the choice of California state law is not arbitrary or unfair.
    13         128. The Executive Defendants primarily reside in, and upon information
    14 and belief operate EthereumMax’s headquarters and principal place of business,
    15 located in California.     Upon information and belief, EthereumMax also owns
    16 property and conducts substantial business in California, and therefore California
    17 has an interest in regulating EthereumMax’s conduct under its laws.
    18 EthereumMax’s decision to reside in California and avail itself of California’s laws,
    19 and to engage in the challenged conduct from and emanating out of California,
    20 renders the application of California law to the claims herein constitutionally
    21 permissible.
    22         129. California is also the state from which the Executive Defendants’
    23 alleged misconduct emanated. On information and belief, the decision-making
    24 regarding the parameters of EthereumMax marketing strategy and related sale of
    25 EMAX Tokens, occurred in and emanated from California. As such, the conduct
    26 complained of herein emanated from California. This conduct similarly injured and
    27 affected Plaintiffs and all other Class members.
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     1         130. The application of California laws to the Class is also appropriate under
     2 California’s choice of law rules because California has significant contacts to the
     3 claims of Plaintiffs and the proposed Class, and California has a greater interest in
     4 applying its laws here than any other interested state.
     5                             FIRST CAUSE OF ACTION
     6                 Violation of the California Unfair Competition Law
                                  Cal. Bus. & Prof. Code §17200
     7                               (Against All Defendants)
     8         131. Plaintiffs restate and reallege all preceding allegations above as if fully
     9 set forth herein.
    10         132. Plaintiffs Semerjian and Shah are residents of the State of California.
    11         133. At all relevant times there was in full force and effect the California
    12 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200, et seq., which
    13 prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice”
    14 and “unfair, deceptive, untrue, or misleading advertising.”
    15         134. EthereumMax also engaged in business acts and practices deemed
    16 “unfair” under the UCL, because of the conduct, statements, and omissions
    17 described above. Unfair acts under the UCL have been interpreted using different
    18 tests, including: (1) whether the public policy which is a predicate to a consumer
    19 unfair competition action under the unfair prong of the UCL is tethered to specific
    20 constitutional, statutory, or regulatory provisions; (2) whether the gravity of the
    21 harm to the consumer caused by the challenged business practice outweighs the
    22 utility of the defendant’s conduct; and (3) whether the consumer injury is substantial,
    23 not outweighed by any countervailing benefits to consumers or competition, and is
    24 an injury that consumers themselves could not reasonably have avoided.
    25 Defendants’ conduct is unfair under each of these tests.
    26         135. As a direct and proximate result of Defendants’ unlawful, unfair, and
    27 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
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     1 Defendants’ activities with the Promoter Defendants caused Plaintiffs and the Class
     2 members to purchase and/or hold the EMAX Tokens when they otherwise would
     3 not have done so.
     4         136. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
     5 or practices by EthereumMax, to obtain restitution and disgorgement of all monies
     6 generated as a result of such practices, and for all other relief allowed under
     7 California Business & Professions Code §17200.
     8                            SECOND CAUSE OF ACTION
     9             Violation of the California Consumers Legal Remedies Act
                                      Cal. Civil Code §1770
    10                               (Against All Defendants)
    11         137. Plaintiffs restate and reallege all preceding allegations above as if fully
    12 set forth herein.
    13         138. Plaintiffs Semerjian and Shah are residents of the State of California.
    14         139. At all relevant times there was in full force and effect Cal. Civil Code
    15 §1770, which prohibits, inter alia, various methods of “unfair or deceptive acts or
    16 practices undertaken by any person in a transaction intended to result or that results
    17 in the sale or lease of goods or services to any consumer,” including, but not limited
    18 to, “[m]isrepresenting the affiliation, connection, or association with, or certification
    19 by, another” and “[r]epresenting that goods or services have sponsorship, approval,
    20 characteristics, ingredients, uses, benefits, or quantities that they do not have or that
    21 a person has a sponsorship, approval, status, affiliation, or connection that the person
    22 does not have.” Cal. Civil Code §1770(a)(3) & (5).
    23         140. Defendants engaged in business acts and practices deemed “deceptive”
    24 because of the conduct, statements, and omissions described above, including, but
    25 not limited to, the following:
    26                (a)   knowingly     and    intentionally   concealing    the   Executive
    27 Defendants’ specific roles and ownership interests in EthereumMax; and
    28
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     1                (b)   knowingly and intentionally using and/or failing to disclose the
     2 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
     3 the financial benefits of a highly speculative and risky investment in EMAX Tokens,
     4 in an effort to manipulate and artificially inflate the price and trading volume of the
     5 EMAX tokens and allow Defendants to sell their EMAX Tokens at those inflated
     6 prices.
     7         141. As a direct and proximate result of Defendants’ unlawful, unfair, and
     8 deceptive practices, Plaintiffs and Class members suffered damages. The Executive
     9 Defendants’ activities with the Promoter Defendants caused Plaintiffs and the Class
    10 members to purchase and/or hold the EMAX Tokens when they otherwise would
    11 not have done so.
    12         142. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
    13 or practices by Defendants, to obtain restitution and disgorgement of all monies
    14 generated as a result of such practices, and for all other relief allowed under Cal.
    15 Civil Code §1780.
    16         143. Plaintiffs additionally seek punitive damages under Cal. Civil Code
    17 §1770(a)(4).
    18         144. Plaintiffs have complied with Cal. Civil Code §1780(d), which requires
    19 the concurrent filing of an “affidavit stating facts showing that the action has been
    20 commenced in a county described in this section as a proper place for the trial of the
    21 action.”
    22                             THIRD CAUSE OF ACTION
    23                                 Aiding and Abetting
                                     California Common Law
    24                            (Against Promoter Defendants)
    25         145. Plaintiffs restate and reallege all preceding allegations above as if fully
    26 set forth herein.
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     1         146. Under California law, aiding and abetting requires not agreement, but
     2 simply assistance. The elements of aiding and abetting liability have cited the
     3 elements of the tort as they are set forth in the RESTATEMENT (SECOND) OF TORTS
     4 §876, and have omitted any reference to an independent duty on the part of the aider
     5 and abettor.
     6         147. Under California law, “[l]iability may . . . be imposed on one who aids
     7 and abets the commission of an intentional tort if the person (a) knows the other’s
     8 conduct constitutes a breach of duty and gives substantial assistance or
     9 encouragement to the other to so act or (b) gives substantial assistance to the other
    10 in accomplishing a tortious result and the person’s own conduct, separately
    11 considered, constitutes a breach of duty to the third person.” Neilson v. Union Bank
    12 of Cal., N.A., 290 F. Supp. 2d 1101, 1118 (C.D. Cal. 2003).
    13         148. “Unlike a conspirator, an aider and abettor does not ‘adopt as his or her
    14 own’ the tort of the primary violator. Rather, the act of aiding and abetting is distinct
    15 from the primary violation; liability attaches because the aider and abettor behaves
    16 in a manner that enables the primary violator to commit the underlying tort.” Id.
    17         149. The Promoter Defendants have previous knowledge and experience
    18 with making misleading promotional statements (with Mayweather having nearly an
    19 identical experience with a previous fraudulent cryptocurrency promotion), and, as
    20 such, knew or should have known that the marketing strategy employed by the
    21 Executive Defendants for the EMAX Tokens was unlawful, deceitful, fraudulent,
    22 and/or violated the terms of the California, Florida, and New York state statutes
    23 described in this Complaint.
    24         150. By promoting the EMAX Tokens on their social media platforms and
    25 through their reported conduct, the Promotor Defendants provided assistance that
    26 was a substantial factor causing the EMAX Token price to both surge and do so long
    27 enough to allow all Defendants to sell their EMAX Tokens for huge profits at the
    28
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     1 expense of their followers and investors.         Without the help of the Promoter
     2 Defendants’ activities, the Executive Defendants would have been unable to use the
     3 misleading marketing strategy devised by Gentile, and Defendants would not have
     4 been able to commit the violations of California state consumer protection statutes
     5 alleged herein.
     6         151. As a direct and proximate result of the Promotor Defendants’ unlawful,
     7 unfair, and deceptive practices, Plaintiffs and Class members suffered damages. The
     8 Executive Defendants’ activities with the Promoter Defendants caused Plaintiffs and
     9 the Class members to purchase and/or hold the EMAX Tokens when they otherwise
    10 would not have done so.
    11         152. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
    12 or practices by EthereumMax, to obtain monetary damages, restitution and
    13 disgorgement of all monies generated as a result of such practices, and for all other
    14 relief allowed under California law.
    15                            FOURTH CAUSE OF ACTION
    16                        Violation of the Racketeer Influenced
                           and Corrupt Organizations Act (“RICO”)
    17                               18 U.S.C. §1961, et seq.
                    (Against Executive Defendants and Promoter Defendants)
    18
               153. Plaintiffs restate and reallege all preceding allegations above as if fully
    19
         set forth herein.
    20
               154. This claim is brought on behalf of the class against Defendants for
    21
         actual damages, treble damages, and equitable relief under 18 U.S.C. §1964 for
    22
         violations of 18 U.S.C. §1962, et seq. Defendants are “person[s]” within the
    23
         meaning of 18 U.S.C. §1961(3) who conducted the affairs of an enterprise through
    24
         a pattern of racketeering activity, in violation of 18 U.S.C. §1962(c).
    25
               155. Plaintiffs and the members of the class are each “persons,” as that term
    26
         is defined in 18 U.S.C. §1961(3) who were injured in their business or property as a
    27
         result of Defendants’ wrongful conduct.
    28
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     1         The EMAX Token Enterprise
     2         156. Under 18 U.S.C. §1961(4), a RICO “enterprise” may be an association-
     3 in-fact that, although it has no formal legal structure, has (i) a common purpose;
     4 (ii) relationships among those associated with the enterprise; and (iii) longevity
     5 sufficient to pursue the enterprise’s purpose.
     6         157. Defendants formed such an association-in-fact enterprise, namely, the
     7 EMAX Token Enterprise that included Maher, Gentile, Perone, and the seven other
     8 undisclosed individuals that comprise the Executive Defendants, along with
     9 Promoter Defendants Davis, Pierce, Mayweather, and Kardashian. For the purpose
    10 of this claim, these Defendants are collectively referred to as the “RICO
    11 Defendants.”
    12         158. The EMAX Token Enterprise are ongoing and continuing business
    13 organizations consisting of “persons” within the meaning of 18 U.S.C. §1961(3) that
    14 created and maintained systematic links for a common purpose: to ensure that the
    15 RICO Defendants could sell off their EMAX Token holdings to retail investors at
    16 artificially inflated prices without their fraud being detected.
    17         159. To accomplish this purpose, the EMAX Token Enterprise periodically
    18 and systematically promoted the EMAX Tokens — either affirmatively or through
    19 half-truths and omissions — to retail investors, including Plaintiffs and the class,
    20 that the EMAX Tokens had real utility (as opposed to pure speculation). The EMAX
    21 Token Enterprise concealed from investors, like Plaintiffs and the Class members,
    22 that the EMAX Tokens were not the sound investment that the RICO Defendants
    23 claimed. This scheme of the EMAX Token Enterprise translated into increased
    24 volume and more EMAX Token investors buying at artificially inflated prices (and
    25 therefore, more profits) for the RICO Defendants.
    26         160. The persons engaged in the EMAX Token Enterprise are systematically
    27 linked through contractual relationships, financial ties, and continuing coordination
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     1 of activities, as spearheaded by the Executive Defendants and Promoter Defendant
     2 Davis. There is regular communication between the RICO Defendants, in which
     3 information is shared. Typically, this communication occurred, and continues to
     4 occur, through the use of the wires and the mail in which RICO Defendants share
     5 information regarding various timing and content of promotional activities for the
     6 EMAX Tokens. Maher and Davis also shared such information with each other
     7 privately during family functions and private business meetings.          The RICO
     8 Defendants through their administration, funding, and execution of the scheme to
     9 misleadingly market the EMAX Tokens each functioned as a continuing unit for the
    10 purposes of implementing, respectively, the EMAX Token pump and dump scheme
    11 and, as set forth above, when issues arise during the scheme, the scheme’s
    12 participants agreed to take actions to hide the scheme and continue its existence.
    13         161. At all relevant times, Executive Defendants were aware of the Promoter
    14 Defendants’ conduct, were knowing and willing participants in that conduct, and
    15 reaped profits from that conduct. Executive Defendants concealed the members of
    16 the EthereumMax leadership and founding team, which allowed the unidentified co-
    17 conspirators to sell their portion of the Float without any scrutiny or complaint.
    18 Executive Defendants represented to investors that EthereumMax had staying
    19 power, long term value, and tremendous growth potential. But they knew that the
    20 conduct of the Promotor Defendants was artificially inflating the price of the EMAX
    21 Tokens. Executive Defendants also knew, but did not disclose, that both the trading
    22 volume and price action for the EMAX Tokens would plummet if the promotional
    23 activities ceased. Promotor Defendants Davis, Pierce, and Kardashian also knew
    24 that their promotional activities artificially caused spikes in the EMAX Token price
    25 and trading volume, but likewise would not disclose the fraud. By failing to disclose
    26 this information, the RICO Defendants perpetuated the EMAX Token Enterprise’s
    27 scheme, and reaped substantial profits.
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     1         162. During the time that the EMAX Tokens were being launched and first
     2 publicly marketed to retail investors it, the Executive Defendants were aware of the
     3 promotional activities of Davis, Pierce, and Kardashian, were knowing and willing
     4 participants in that conduct, and reaped profits from that conduct. The Executive
     5 Defendants knew that using misleading marketing would result in lawsuits and even
     6 criminal charges. Accordingly, the Executive Defendants concealed the identities
     7 of the EthereumMax founders and insiders in order to escape detection and
     8 punishment for their participation in the EMAX Token Enterprise. The RICO
     9 Defendants knew, but did not disclose, that they were promoting the EMAX Tokens,
    10 then turning around and selling off their holdings as retail investors, like Plaintiffs
    11 and the Class members, were buying in. The Executive Defendants knew, but did
    12 not disclose, that they were allowing the Promoter Defendants to engage in this fraud
    13 to the detriment of retail investors.
    14         163. The RICO Defendants participated in the conduct of the EMAX Token
    15 Enterprise, sharing the common purpose of inflating the price and trading volume of
    16 EMAX Tokens in order to sell their respective portion of the Float for substantial
    17 profit, through a pattern of racketeering activity within the meaning of 18 U.S.C.
    18 §§1961(1) and (5), which includes multiple instances of mail fraud in violation of
    19 18 U.S.C. §1341, and multiple instances of wire fraud in violation of 18 U.S.C.
    20 §1343. In the EMAX Token Enterprise, the RICO Defendants knowingly made
    21 material misstatements to retail investors in furtherance of the fraudulent scheme
    22 regarding:
    23               a.     the ownership interests and identities of the EthereumMax
    24 founders;
    25               b.     the timing and amount of EMAX Token sales made by the RICO
    26 Defendants; and
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     1                c.     the RICO Defendants’ intent to sell their EMAX Tokens after
     2 artificially inflating the price.
     3         164. The Executive Defendants alone could not have accomplished the
     4 purpose of the EMAX Token Enterprise without the assistance of the Promoter
     5 Defendants. For the Executive Defendants to profit from the scheme, the Promoter
     6 Defendants needed to use their influence to mislead investors into buying the EMAX
     7 Tokens.       And the Promoter Defendants did so.               They then, through
     8 misrepresentations and failures to disclose material information, failed to disclose to
     9 investors that the Promoter Defendants were simultaneously selling their EMAX
    10 Tokens at inflated prices. Without these misrepresentations, the EMAX Token
    11 Enterprise could not have achieved its common purpose.
    12         165. The EMAX Token Enterprise engaged in and affected interstate
    13 commerce because, inter alia, it created the EMAX Tokens that were paid for by
    14 thousands of Class members throughout the United States.
    15         166. The foregoing evidences that the RICO Defendants were each willing
    16 participants in the EMAX Token Enterprise, that the EMAX Token Enterprise had
    17 a common purpose and interest in the objective of the scheme, and functioned within
    18 a structure designed to effectuate the Enterprise’s purpose, i.e., through the
    19 Executives’ creation of the EMAX Tokens, coupled with the Promoter Defendants’
    20 misleading promotion of the EMAX Tokens.
    21         167. During the Relevant Period, the RICO Defendants exerted control over
    22 the EMAX Token Enterprise and participated in the operation or management of the
    23 affairs of the EMAX Token Enterprise, directly or indirectly, in the following ways:
    24                a.     Underfunding the EMAX Token liquidity pool to the point where
    25 small buys would cause large spikes to the price, then using the artificially inflated
    26 prices to promote to investors that the EMAX Tokens were poised for future;
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     1               b.     The RICO Defendants concealed the identities of the leadership
     2 team behind EthereumMax in order to get away with improperly promoting the
     3 EMAX Tokens to investors;
     4               c.     The RICO Defendants concealed that they were causing the
     5 EMAX Token price to artificially inflate in order to allow themselves to sell off their
     6 respective EMAX Token holdings at that inflated price; and
     7               d.     The Executive Defendants expected and intended that the
     8 Promoter Defendants would (and did) distribute through the U.S. Mail and interstate
     9 wire facilities, communications that failed to disclose that the RICO Defendants
    10 were pumping up price and trading volume of EMAX Tokens artificially.
    11         168. The scheme had a hierarchical decision-making structure that was
    12 headed by the Executive Defendants. They controlled the minting of the EMAX
    13 Tokens and directed the Promotor Defendants to misleadingly promote the EMAX
    14 Tokens to their social media audiences.
    15         169. The scheme devised and implemented by the RICO Defendants, as well
    16 as other members of the EMAX Token Enterprise, amounted to a common course
    17 of conduct intended to (a) allow the RICO Defendants to artificially inflate the price
    18 of and trading volume for the EMAX Tokens; and (b) sell their respective portion of
    19 the Float for a profit at the expense of Plaintiffs and the Class members.
    20         RICO Defendants’ Pattern of Racketeering Activity
    21         170. The RICO Defendants conducted and participated in the conduct of the
    22 affairs of the EMAX Token Enterprise through a pattern of racketeering activity,
    23 including acts that are indictable under 18 U.S.C. §1341, relating to mail fraud, and
    24 18 U.S.C. §1343, relating to wire fraud. The pattern of racketeering activity by the
    25 EMAX Token Enterprise likely involved thousands of separate instances of use of
    26 the U.S. Mail or interstate wire facilities in furtherance of the unlawful HSP pricing
    27 scheme.     Each of these fraudulent mailings and interstate wire transmissions
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     1 constitutes “racketeering activity” within the meaning of 18 U.S.C. §1961(1)(B).
     2 Collectively, these violations constitute a “pattern of racketeering activity,” within
     3 the meaning of 18 U.S.C. §1961(5), through which the RICO Defendants intended
     4 to defraud Plaintiffs, members of the class, and other intended victims.
     5         171. Each instance of racketeering activity alleged herein was related, had
     6 similar purposes, involved the same or similar participants and methods of
     7 commission, and had similar results affecting similar victims, including Plaintiffs
     8 and members of the class. The RICO Defendants calculated and intentionally
     9 crafted the EMAX Token Enterprise to ensure their own profits remained high,
    10 without regard to the effect such behavior had on Plaintiffs and members of the class
    11 who would were buying the EMAX Tokens at artificially inflated prices.
    12         172. By intentionally and artificially inflating the EMAX Token prices, and
    13 then subsequently failing to disclose such practices to the investors, the RICO
    14 Defendants engaged in a fraudulent and unlawful course of conduct constituting a
    15 pattern of racketeering activity.
    16         173. The pattern of racketeering activity alleged herein was continuing until
    17 June 27, 2021.
    18         The RICO Defendants’ Use of the U.S. Mail and Interstate Wire
               Facilities
    19
    20         174. The EMAX Token Enterprise engaged in and affected interstate
    21 commerce because it transmistted and published false and misleading information
    22 concerning the growth potential for EtheruemMax across state lines.
    23         175. During the Class Period, the EMAX Token Enterprise’s unlawful
    24 conduct and wrongful practices were carried out by an array of employees, working
    25 across state boundaries, who necessarily relied upon frequent transfers of
    26 documents, communications, information, products, and funds by the U.S. Mail and
    27 interstate wire facilities.
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     1         176. The nature and pervasiveness of the fraudulent token promotion
     2 scheme, which was orchestrated by Executive Defendants, necessarily required
     3 those headquarters to communicate directly and frequently by U.S. Mail and
     4 interstate wire facilities.
     5         177. Many of the precise dates of the EMAX Token Enterprise’s uses of the
     6 U.S. Mail and interstate wire facilities (and corresponding RICO predicate acts of
     7 mail and wire fraud) have been hidden and cannot be alleged without access to the
     8 Executive Defendants’ or the Promoter Defendants. Indeed, an essential part of the
     9 successful operation of the Enterprise alleged herein depended upon secrecy.
    10 However, Plaintiffs can generally describe the occasions on which the RICO
    11 predicate acts of mail fraud and wire fraud occurred, and how those acts were in
    12 furtherance of the scheme; Plaintiffs describe this below.
    13         178. The RICO Defendants’ use of the U.S. Mail and interstate wire facilities
    14 to perpetrate the fraudulent promotion scheme involved thousands of
    15 communications throughout the class period including, inter alia:
    16         a.     Communications on official EthereumMax accounts on various social
    17 media platforms, including, but not limited to: Twitter, Reddit, Telegram, and
    18 Discord to investors, which occurred on a regular basis as investors like Plaintiffs
    19 and Class members purchased EMAX Tokens;
    20         b.     Written representations and telephone calls between the Executive
    21 Defendants and Promotor Defendants regarding the promotion of EMAX Tokens
    22 and the financial benefits to the RICO Defendants for doing so;
    23         c.     Written representations and telephone calls between any of the RICO
    24 Defendants and David Grutman regarding the promotion of EMAX Tokens and the
    25 financial benefits to the RICO Defendants for doing so;
    26         d.     Written representations and telephone calls between the RICO
    27 Defendants and the moderators of the EthereumMax social media accounts
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     1 regarding the promotion of EMAX Tokens and the financial benefits to the RICO
     2 Defendants for doing so;
     3         e.    Emails between the Executive Defendants and Promotor Defendants
     4 agreeing to or effectuating the implementation of the EMAX Token fraud scheme;
     5         f.    Written and oral communications directed to retail investors that
     6 fraudulently misrepresented the growth potential for the EMAX Tokens that were
     7 designed to conceal the scheme and deter investigations into the EMAX Token
     8 Enterprise; and
     9         g.    Receipts of increased profits sent through the U.S. Mail and interstate
    10 wire facilities — the wrongful proceeds of the scheme.
    11         179. In addition to the above-referenced RICO predicate acts, it was
    12 foreseeable to the Executive Defendants that the Promoter Defendants would
    13 distribute publications through the U.S. Mail and by interstate wire facilities, and in
    14 those publications, conceal that the EMAX Token price was fraudulently inflated.
    15         Motive and Common Purpose
    16         180. The RICO Defendants’ motive and purpose in creating and conducting
    17 the scheme and the Enterprise(s) was to increase the price and trading volume for
    18 the EMAX Tokens so that they could sell off their portion of the Float for grossly
    19 inflated prices. Each person joined in that common purpose because each person
    20 made more money the higher the EMAX Token price rose and, as trading volume
    21 increased, the RICO Defendants would be able to sell off in the increased liquidity.
    22         Damages Caused by the RICO Defendants Marketing Fraud
    23         181. The RICO Defendants violations of federal law and its pattern of
    24 racketeering activity have directly and proximately caused Plaintiffs and Class
    25 members to be financially injured as a result of purchasing the EMAX Tokens.
    26         182. As described above, when the RICO Defendants executed the EMAX
    27 Token promotional scheme, the result was an artificial increase in both price and
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     1 trading volume. When the EMAX Token price and trading volume is artificially
     2 inflated, investors like Plaintiffs and the class overpay due to a fraudulent price.
     3         183. Plaintiffs’ injuries, and those of the Class members, were proximately
     4 caused by the RICO Defendants’ racketeering activity. But for the misleading
     5 statements and omissions made by the RICO Defendants, Plaintiffs and others
     6 similarly situated would have paid less for the EMAX Tokens.
     7         184. Plaintiffs’ injuries were directly caused by the RICO Defendants’
     8 racketeering activity. The RICO Defendants’ racketeering activity inflated the
     9 EMAX Token price, which was ultimately paid for by Plaintiffs and the other class
    10 members.
    11         185. Plaintiffs and those similarly situated were most directly harmed by the
    12 fraud, and there is no other Plaintiff or class of plaintiffs better situated to seek a
    13 remedy for the economic harms to consumers from the RICO Defendants’ fraudulent
    14 scheme.
    15         186. By virtue of these violations of 18 U.S.C. §1962(c), the RICO
    16 Defendants are liable to Plaintiffs for three times the damages they have sustained,
    17 plus the cost of this suit, including reasonable attorneys’ fees.
    18                             FIFTH CAUSE OF ACTION
    19                               Common Law Conspiracy
                                     (Against All Defendants)
    20
    21         187. Plaintiffs restate and reallege all preceding allegations above as if fully
    22 set forth herein.
    23         188. Beginning in May 2021, and continuously thereafter up to and
    24 including the date of the filing of the Complaint, the Executive Defendants and Does
    25 1-7 did engage in the formation and operation of a conspiracy with the Promotor
    26 Defendants to misleadingly promote the EMAX Tokens to retail investors in order
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     1 to artificially inflate the price and trading volume so that Defendants could sell their
     2 respective EMAX Tokens for substantial profits.
     3         189. As alleged above, each Defendant acted in furtherance of the
     4 conspiracy by, among other things, concealing the identity and ownership interests
     5 of, and association with, the EthereumMax leadership team; falsely promoting the
     6 EMAX Tokens as sound investments with significant growth potential; and making
     7 misleading statements about the Defendants holding their EMAX Tokens along with
     8 the retail investors who bought, while, in truth, the Defendants were selling their
     9 EMAX Tokens for substantial profits.
    10         190. As a proximate result of said conspiracy, as described in the foregoing
    11 paragraphs, Plaintiffs suffered, continue to suffer, and will suffer in the future, the
    12 damages alleged herein.
    13         191. For Defendants’ conduct in the alleged conspiracy, Plaintiffs seek
    14 compensatory damages against all Defendants, and each of them, jointly and
    15 severely, in an as-yet undetermined amount; punitive damages, injunctive relief
    16 enjoining Defendants from continuing to falsely and misleadingly promote the
    17 EMAX Tokens; and divestiture of all money wrongfully obtained, whether directly
    18 or indirectly, as part of the alleged conspiracy.
    19                             SIXTH CAUSE OF ACTION
    20                  Violation of the California False Advertising Law
                              Cal. Bus. & Prof. Code §17500, et seq.
    21                          (Against Defendant Kardashian)
    22         192. Plaintiffs restate and reallege all preceding allegations above as if fully
    23 set forth herein.
    24         193. Plaintiffs Semerjian and Shah are residents of the State of California.
    25         194. At all relevant times there was in full force and effect the California
    26 False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §17500, et seq., which
    27 prohibits, inter alia, any public statement made “to induce the public to enter into
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     1 any obligation relating” to the disposal of real or personal property . . . which is
     2 untrue or misleading, and which is known, or which by the exercise of reasonable
     3 care should be known, to be untrue and misleading.”
     4         195. Kardashian used online and social media advertising to sell the EMAX
     5 Tokens. Kardashian disseminated (and could continue to do so in the future)
     6 advertising concerning the EMAX Token which by its very nature is deceptive,
     7 untrue, or misleading within the meaning of Cal. Bus. & Prof. Code §17500 because
     8 those advertising statements are misleading and likely to deceive, and continue to
     9 deceive, members of the class and the general public.
    10         196. In making and disseminating the statements alleged herein, Kardashian
    11 knew or should have known that the statements were untrue or misleading, and acted
    12 in violation of Cal. Bus. & Prof. Code §17500.
    13         197. The misrepresentations and non-disclosures by Kardashian of the
    14 material facts detailed above constitute false and misleading advertising and
    15 therefore constitute a violation of Cal. Bus. & Prof. Code §17500.
    16         198. Through her deceptive acts and practices, Kardashian has improperly
    17 and illegally obtained money from Plaintiffs and the members of the Class. As such,
    18 Plaintiffs request that this Court cause Defendant to restore this money to Plaintiffs
    19 and the members of the Class, and to enjoin Defendant from continuing to violate
    20 Cal. Bus. & Prof. Code §17500, as discussed above. Otherwise, Plaintiffs and those
    21 similarly situated will continue to be harmed by Kardashian’s false and/or
    22 misleading advertising regarding EMAX Tokens.
    23         199. “Any violation of [Cal. Bus. & Prof. Code §17500] is a misdemeanor
    24 punishable by imprisonment in county jail not exceeding six months, or by a fine
    25 not exceeding two thousand five hundred dollars ($2,500), or by both that
    26 imprisonment and fine.”
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     1         200. “Punishment is partly an expression of a society’s desire to inflict pain
     2 on those who break the law. But giving wealthy offenders a mere slap on the wrist
     3 makes a mockery of that objective. And while punishment is supposed to prevent
     4 undesirable conduct from happening in the first place, flat fines deter the wealthy
     5 less than everyone else.”42
     6         201. Given Kardashian’s status as one of the country’s most influential and
     7 wealth celebrity promotors – someone who regularly makes millions of dollars from
     8 similarly promoting products to her massive following on social media – the
     9 maximum fine of only $2,500 for a violation of Cal. Bus. & Prof. Code §17500 will
    10 do little, if anything, to deter Kardashian from making false and misleading
    11 advertisements in the future.
    12         202. In addition, pursuant to Cal. Bus. & Prof. Code §17535, Plaintiffs seek
    13 an Order of this Court ordering Defendants to fully disclose the true nature of their
    14 misrepresentations. Plaintiffs additionally request an Order requiring Kardashian to
    15 disgorge her ill-gotten gains and/or award full restitution of all monies wrongfully
    16 acquired by Kardashian by means of such acts of false advertising, plus interest and
    17 attorneys’ fees so as to restore any and all monies which were acquired and obtained
    18 by means of such untrue and misleading advertising, misrepresentations and
    19 omissions, and which ill-gotten gains are still retained by Kardashian. Plaintiffs and
    20 those similarly situated may be irreparably harmed and/or denied an effective and
    21 complete remedy if such an Order is not granted.
    22         203. Kardashian’s conduct is ongoing and continues to this date. Plaintiffs
    23 and the Classes are therefore entitled to the relief sought.
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    27   42
             Alec Schierenbeck, Op-Ed, A Billionaire and a Nurse Shouldn’t Pay the Same
       Fine for Speeding, NY TIMES (March 15, 2018), https://www.nytimes.com
    28 /2018/03/15/opinion/flat-fines-wealthy-poor.html
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     1                          SEVENTH CAUSE OF ACTION
     2 Violation of Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”)
                               Ch. 501, §211(1), Fla. Stat. Ann.
     3                            (Against All Defendants)
     4        204. Plaintiffs restate and reallege all preceding allegations above as if fully
     5 set forth herein.
     6        205. Plaintiffs Nahlah, Freeman, Brignol, and Puda are residents of the State
     7 of Florida.
     8        206. Chapter 501, Fla. Stat., FDUTPA is to be liberally construed to protect
     9 the consuming public, such as Plaintiffs in this case, from those who engage in unfair
    10 methods of competition, or unconscionable, deceptive or unfair acts or practices in
    11 the conduct of any trade or commerce.
    12        207. Plaintiffs are “consumers” within the meaning of Fla. Stat.
    13 §501.203(7).
    14        208. By soliciting investor funds in the manner in which they did,
    15 Defendants engaged in “trade and commerce” within the meaning of Fla. Stat.
    16 §501.203(8).
    17        209. While FDUTPA does not define “deceptive” and “unfair,” it
    18 incorporates by reference the Federal Trade Commission's interpretations of these
    19 terms. The FTC has found that a “deceptive act or practice” encompasses “a
    20 representation, omission or practice that is likely to mislead the consumer acting
    21 reasonably in the circumstances, to the consumer’s detriment.”
    22        210. The federal courts have defined a “deceptive trade practice” as any act
    23 or practice that has the tendency or capacity to deceive consumers and have defined
    24 an “unfair trade practice” as any act or practice that offends public policy and is
    25 immoral, unethical, oppressive, unscrupulous, or substantially injurious to
    26 consumers.
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     1         211. Defendants engaged in business acts and practices deemed “deceptive”
     2 because of the conduct, statements, and omissions described above, including, but
     3 not limited to, the following:
     4               (a)    knowingly    and    intentionally   concealing      the   Executive
     5 Defendants’ specific roles and ownership interests in EthereumMax; and
     6               (b)    knowingly and intentionally using and/or failing to disclose the
     7 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
     8 the financial benefits of a highly speculative and risky investment in EMAX Tokens,
     9 in an effort to manipulate and artificially inflate the price and trading volume of the
    10 EMAX tokens and allow Defendants to sell their EMAX Tokens at those inflated
    11 prices.
    12         212. These acts and omissions constitute both deceptive and unfair trade
    13 practices because the false representations and omissions made by Defendants have
    14 a tendency or capacity to deceive consumers, such as Plaintiffs, into investing in the
    15 EMAX Tokens to their collective financial detriment. Such conduct is immoral,
    16 unethical, oppressive, unscrupulous, or substantially injurious to consumers.
    17         213. As a result of Defendants’ deceptive trade practices, Plaintiffs were
    18 deceived into retaining functionally worthless cryptocurrencies and/or investing
    19 their cryptocurrency and/or fiat currency with a company that functioned solely as
    20 an engine of fraud – thus causing significant economic damage to Plaintiffs.
    21         214. The materially false statements and omissions as described above, and
    22 the fact that this was a misleading investment, were unfair, unconscionable, and
    23 deceptive practices perpetrated on Plaintiffs which would have likely deceived a
    24 reasonable person under the circumstances.
    25         215. Defendants were on notice at all relevant times that the false
    26 representations of material facts described above were being communicated to
    27 prospective investors (such as Plaintiffs) by their authorized agents.
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     1         216. As a result of the false representations and violations of the laws
     2 described above, Plaintiffs have been damaged by, among other things losing the
     3 true value of their invested cryptocurrency.
     4         217. Plaintiffs have also been damaged in other and further ways subject to
     5 proof at trial.
     6         218. Therefore, Defendants engaged in unfair and deceptive trade practices
     7 in violation of Fla. Stat. §501.201, et seq.
     8         219. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts
     9 or practices by Defendants, to obtain restitution and disgorgement of all monies
    10 generated as a result of such practices, and for all other relief allowed under Florida
    11 law.
    12         220. Pursuant to Fla. Stat. §§501.211(1) and 501.2105, Plaintiffs are entitled
    13 to recover from Defendants the reasonable amount of attorneys’ fees Plaintiffs have
    14 had to incur in representing their interests in this matter.
    15                            EIGHTH CAUSE OF ACTION
    16                     Violation of New York’s General Business Law
                                        Art. 22-A, §349, et seq.
    17                                (Against All Defendants)
    18         221. Plaintiffs restate and reallege all preceding allegations above as if fully
    19 set forth herein.
    20         222. Plaintiffs Huegerich and Ciklik are residents of the State of New York.
    21         223. For the reasons discussed herein, Defendants violated and continued to
    22 violate Section 349(a) of the New York General Business Law by engaging in the
    23 herein described unfair or deceptive acts or practices. Defendants acts and practices,
    24 including its material omissions, described herein, were likely to, and did in fact,
    25 deceive and mislead members of the public, including consumers acting reasonably
    26 under the circumstances, to their detriment. Defendants engaged in deceptive acts
    27 and practices under New York law by taking advantage of the lack of knowledge,
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     1 ability, experience, or capacity of Plaintiffs to a grossly unfair degree, including but
     2 not limited to, in the following ways:
     3               (a)    knowingly     and   intentionally   concealing    the   Executive
     4 Defendants’ specific roles and ownership interests in EthereumMax; and
     5               (b)    knowingly and intentionally using and/or failing to disclose the
     6 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
     7 the financial benefits of a highly speculative and risky investment in EMAX Tokens,
     8 in an effort to manipulate and artificially inflate the price and trading volume of the
     9 EMAX tokens and allow Defendants to sell their EMAX Tokens at those inflated
    10 prices.
    11         224. As a direct and proximate result of Defendants’ unfair and deceptive
    12 practices, Plaintiffs and Class members suffered damages. Defendants’ activities
    13 caused Plaintiffs and the Class members to purchase and/or retain the EMAX Tokens
    14 when they otherwise would not have done so.
    15         225. Pursuant to GBL §349(h), Plaintiffs seek to enjoin further unlawful,
    16 unfair, and/or fraudulent acts or practices by Defendants, to obtain restitution and
    17 disgorgement of all monies generated as a result of such practices, and for all other
    18 relief allowed under New York law.
    19         226. In addition, Plaintiffs are entitled to reasonable attorney’s fees and
    20 exemplary damages not exceeding three times the value of the consideration given
    21 by the consumer, and any other relief this Court determined is appropriate. See GBL
    22 §349(h).
    23                             NINTH CAUSE OF ACTION
    24                     Violation of New Jersey Consumer Fraud Act
                                        NJSA 56:8-1 to 156
    25                                (Against All Defendants)
    26         227. Plaintiffs restate and reallege all preceding allegations above as if fully
    27 set forth herein.
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     1         228. Plaintiff DeLuca is a resident of the State of New Jersey.
     2         229. For the reasons discussed herein, Defendants violated and continued to
     3 violate the New Jersey Consumer Fraud Act by engaging in the herein described
     4 unfair or deceptive acts or practices. Defendants’ acts and practices, including their
     5 material omissions, described herein, were likely to, and did in fact, deceive and
     6 mislead members of the public, including consumers acting reasonably under the
     7 circumstances, to their detriment.       Defendants engaged in deceptive acts and
     8 practices under New Jersey law by taking advantage of the lack of knowledge,
     9 ability, experience, or capacity of Plaintiffs to a grossly unfair degree, including but
    10 not limited to, in the following ways:
    11         (a)   knowingly and intentionally concealing the Executive Defendants’
    12 specific roles and ownership interests in EthereumMax; and
    13         (b)   knowingly and intentionally using and/or failing to disclose the use of
    14 the Promotor Defendants to “instill trust” in uninformed investors to promote the
    15 financial benefits of a highly speculative and risky investment in EMAX Tokens, in
    16 an effort to manipulate and artificially inflate the price and trading volume of the
    17 EMAX tokens and allow Defendants to sell their EMAX Tokens at those inflated
    18 prices.
    19         230. As a direct and proximate result of Defendants’ unfair and deceptive
    20 practices, Plaintiffs and Class members suffered damages. Defendants’ activities
    21 caused Plaintiffs and the Class members to purchase and/or retain the EMAX Tokens
    22 when they otherwise would not have done so.
    23         231. Pursuant to NJSA 56:8-1 to 156, Plaintiffs seek to enjoin further
    24 unlawful, unfair, and/or fraudulent acts or practices by Defendants, to obtain
    25 restitution and disgorgement of all monies generated as a result of such practices,
    26 and for all other relief allowed under New York law.
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     1         232. In addition, Plaintiffs are entitled to reasonable attorney’s fees and an
     2 exemplary damages award of threefold the damages suffered by Plaintiffs and the
     3 Class Members. See NSJA 56:8-19.
     4                            TENTH CAUSE OF ACTION
     5                            Unjust Enrichment/Restitution
                           (California Common Law, in the Alternative)
     6                               (Against All Defendants)
     7         233. Plaintiffs restate and reallege all preceding allegations above as if fully
     8 set forth herein.
     9         234. Plaintiffs and members of the Class conferred a monetary benefit on
    10 Defendants by raising the price and trading volume of the EMAX Tokens, which
    11 allowed Defendants to sell their EMAX Tokens to Plaintiffs and Class members at
    12 inappropriately and artificially inflated prices.
    13         235. Defendants received a financial benefit from the sale of their EMAX
    14 Tokens at inflated prices and are in possession of this monetary value that was
    15 intended to be used for the benefit of, and rightfully belongs to, Plaintiffs and
    16 members of the Class.
    17         236. Plaintiffs seek restitution in the form of the monetary value of the
    18 difference between the purchase price of the EMAX Tokens and the price those
    19 EMAX Tokens sold for.
    20                                PRAYER FOR RELIEF
    21         WHEREFORE, Plaintiffs, individually, and on behalf of all others similarly
    22 situated, respectfully request that this Court:
    23         A.    Determine that the claims alleged herein may be maintained as a class
    24 action under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
    25 certifying one or more of the Classes defined above;
    26         B.    Appoint Plaintiffs as representatives of the Class and their counsel as
    27 Class counsel;
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     1         C.     Award all actual, general, special, incidental, statutory, punitive, and
     2 consequential damages and restitution to which Plaintiffs and the Class members are
     3 entitled;
     4         D.     Order appropriate relief under Cal. Bus. & Prof. Code §17500 for
     5 Kardashian;
     6         E.     Award post-judgment interest on such monetary relief;
     7         F.     Grant appropriate injunctive and/or declaratory relief;
     8         G.     Award reasonable attorneys’ fees and costs; and
     9         H.     Grant such further relief that this Court deems appropriate.
    10                                    JURY DEMAND
    11         Plaintiffs, individually and on behalf of the putative Class, demand a trial by
    12 jury on all issues so triable.
    13 DATED: April 18, 2022             SCOTT+SCOTT ATTORNEYS AT LAW LLP
    14                                   s/ John T. Jasnoch
                                         John T. Jasnoch (CA 281605)
    15
                                         jjasnoch@scott-scott.com
    16                                   600 W. Broadway, Suite 3300
                                         San Diego, CA 92101
    17
                                         Tel.: 619-233-4565
    18                                   Fax: 619-236-0508
    19                                   Counsel for Plaintiffs and the Proposed Class
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     1                           CERTIFICATE OF SERVICE
     2        I hereby certify that on April 18, 2022, I caused the foregoing to be
     3 electronically filed with the Clerk of the Court using the CM/ECF system, which
     4 will send notification of such filing to the email addresses denoted on the Electronic
     5 Mail Notice List.
     6
     7                                          s/ John T. Jasnoch
                                               John T. jasnoch
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